Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 1 of 119 PagelD #: 27

EXHIBIT A
1922-CC11944

MISSOURI CIRCUIT COURT
TWENTY-SECOND JUDICIAL CIRCUIT, ST. LOUIS CITY

VERNON COUNTY, MISSOURI,
Plaintiff,
V.

ALLERGAN PLC

Serve: Clonshaugh Business &
Technology Park

Dublin, D17 E400, Ireland

ACTAVIS PLC
Serve: 5 Giralda Farms
Madison, NJ 07940

ACTAVIS, INC.
Serve: 5 Giralda Farms
Madison, NJ 07940

WATSON PHARMACEUTICALS, INC.

n/k/a ACTAVIS, INC.
Serve: 5 Giralda Farms
Madison, NJ 07940

WATSON LABORATORIES, INC.
Serve: Steve Anderson

29908 E. Old 50 Highway

Lee’s Summit, MO 64086

ACTAVIS LLC
Serve: 5 Giralda Farms
Madison, NJ 07940

ACTAVIS PHARMA, INC. f/k/a
WATSON PHARMA, INC.

Serve: Corporate Creations Network Inc.

12747 Olive Boulevard, Ste. 300
St. Louis, MO 63141

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Case No.
Division No.

JURY TRIAL DEMANDED

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TEVA PHARMACEUTICAL
INDUSTRIES, LTD.

Serve: 1090 Horsham Road
North Wales, PA 19454

Attn: Deborah Griffin

TEVA PHARMACEUTICALS USA,
INC.

Serve: Corporate Creations Network Inc.

12747 Olive Boulevard, Ste. 300
St. Louis, MO 63141

CEPHALON, INC.

Serve: Corporate Creations Network Inc.

3411 Silverside Road, Tatnall
Building, Ste. 104
Wilmington, DE 19810

ENDO HEALTH SOLUTIONS INC.
Serve: The Corporation Trust Company
Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801

ENDO PHARMACEUTICALS, INC.
Serve: The Corporation Trust Company
Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801

PAR PHARMACEUTICAL
COMPANIES, INC.

Serve: C T Corporation System
28 Liberty Street

New York, NY 10005

PAR PHARMACEUTICALS, INC.
Serve: C T Corporation System

28 Liberty Street

New York, NY 10005

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JANSSEN PHARMACEUTICALS, INC.
Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.
Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

JANSSEN PHARMACEUTICA, INC.
n/k/a JANSSEN PHARMACEUTICALS,
INC.

Serve: Missouri Secretary of State

600 West Main

Jefferson City, MO 65102

JOHNSON & JOHNSON
Serve: Attn: S.M. Rosenberg
One Johnson & Johnson Plaza
New Brunswick, NJ 08933

MALLINCKRODT, PLC
Serve: 3 Lotus Park

The Causeway
Staines-Upon-Thames, Surrey
TWI18 3AG

United Kingdom

MALLINCKRODT LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

SPECGX LLC

Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

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NOVARTIS PHARMACEUTICALS

CORPORATION f/k/a SANDOZ, INC.

Serve: CSC-Lawyers Incorporating
Service Company

221 Bolivar Street

Jefferson City, MO 65101

MYLAN N.V.

Serve: Corporation Service Company
600 N. 2"4 Street, Ste. 401
Harrisburg, PA 17101

MYLAN PHARMACEUTICALS, INC.

Serve: C T Corporation System
1627 Quarrier Street
Charleston, WV 25311

MYLAN INSTITUTIONAL, INC.
Serve: C T Corporation System
208 So Lasalle Street, Ste. 814
Chicago, IL 60604

HOSPIRA, INC.

Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

HIKMA PHARMACEUTICALS USA,
INC. f/k/a WEST-WARD
PHARMACEUTICALS CORP.

Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

JOHN KAPOOR, an individual
Serve: 6610 N 29" Place
Phoenix, AZ 85016

MICHAEL BABICH, an individual

Serve: 18391 North 97" Place
Scottsdale, AZ 85255

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AMERISOURCEBERGEN
CORPORATION

Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

PHARMEDIUM SERVICES, LLC

Serve: National Registered Agents Inc.

208 So Lasalle Street, Ste. 814
Chicago, IL 60604

CARDINAL HEALTH, INC.

Serve: C T Corporation

4400 Easton Commons Way, Ste. 125
Columbus, OH 43219

CARDINAL HEALTH 5, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 100, INC.
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 108, LLC
Serve: C T Corporation System
120 South Central Avenue, Ste. 400
Clayton, MO 63105

CARDINAL HEALTH 110, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 113, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

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CARDINAL HEALTH 122, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 132, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 200, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 201, INC.
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH 414, LLC
Serve: C T Corporation System
120 South Central Avenue
Clayton, MO 63105

CARDINAL HEALTH PHARMACY
SERVICES, LLC

Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

MORRIS & DICKSON CO., L.L.C.
Serve: Incorp Services, Inc.

2847 S. Ingram Mill Road, Ste. A100
Springfield, MO 65804

PHARMALINK, INC.

Serve: Registered Agent Solutions, Inc.

3225 — A Emerald Lane
Jefferson City, MO 65109

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WALMART INC. f/k/a WAL-MART
STORES, INC.

Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

WAL-MART STORES EAST I, LP f/k/a
WAL-MART STORES EAST, LP d/b/a
WALMART #34

Serve: C T Corporation System

120 South Central Avenue

Clayton, MO 63105

and DOES 1 through 1000,

Neer Nee See Ne Nee Nee rere Saree Nomar Nene Smee Nee Ne Nee eee” See”

Defendants.

 

PETITION

Plaintiff Vernon County, Missouri (“Plaintiff or “Vernon County”), for its Petition
against Defendants ALLERGAN PLC; ACTAVIS PLC; ACTAVIS, INC.; WATSON
PHARMACEUTICALS, INC. n/k/a ACTAVIS, INC.; WATSON LABORATORIES,
INC.; ACTAVIS LLC; ACTAVIS PHARMA, INC. f/k/a WATSON PHARMA, INC.;
TEVA PHARMACEUTICAL INDUSTRIES, LTD.; TEVA PHARMACEUTICALS
USA, INC.; CEPHALON, INC.; ENDO HEALTH SOLUTIONS INC.; ENDO
PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICALS, INC.; ORTHO-
MCNEIL-JANSSEN PHARMACEUTICALS, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC.; JOHNSON & JOHNSON; MALLINCKRODT, PLC;
MALLINCKRODT LLC; SPECGX LLC; NOVARTIS PHARMACEUTICALS
CORPORATION f/k/a SANDOZ, INC. MYLAN N.V.; MYLAN
PHARMACEUTICALS, INC.; MYLAN INSTITUTIONAL  INC.; PAR
PHARMACEUTICAL COMPANIES, INC.; PAR PHARMACEUTICALS, INC.;
HOSPIRA, INC.; HIKMA PHARMACEUTICALS USA INC. f/k/a WEST-WARD

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PHARMACEUTICALS CORP.; JOHN KAPOOR, MICHAEL  BABICH;
AMERISOURCEBERGEN CORPORATION; PHARMEDIUM SERVICES, LLC;
CARDINAL HEALTH, INC.; CARDINAL HEALTH 5, LLC; CARDINAL HEALTH
100, INC.; CARDINAL HEALTH 108, LLC; CARDINAL HEALTH 110, LLC;
CARDINAL HEALTH 113, LLC; CARDINAL HEALTH 122, LLC; CARDINAL
HEALTH 132, LLC; CARDINAL HEALTH 200, LLC; CARDINAL HEALTH 201,
INC.; CARDINAL HEALTH 414, LLC; CARDINAL HEALTH PHARMACY
SERVICES, LLC; MORRIS & DICKSON CO., L.L.C.; PHARMALINK, INC.;
WALMART INC. f/k/a WAL-MART STORES, INC.; WAL-MART STORES EAST I,
LP f/k/a WAL-MART STORES EAST, LP d/b/a WALMART #34; and DOES 1 through
1000, states and alleges as follows:
I. INTRODUCTION

1, Opiates! are killing people every day in this country and Missourians have
not been spared. Each of the Defendants in this action engaged in an industry-wide effort
to downplay the addictive and deadly potential effects of the misuse of prescription opioids.
The opioid epidemic has hit every community in Missouri hard, including Vernon County.
Vernon County brings this Petition seeking redress for the societal and financial damage it
has suffered at the hands of those directly responsible for the crisis—the manufacturers and
distributors of prescription opioids.

2. This case is about corporate greed. Simply stated, each of the Defendants
put its desire for profits above the health and well-being of others across the United States.

Communities across the country, including Vernon County and its citizens, have paid

 

| The term “opiate” technically refers only to chemicals that occur naturally in the
opium plant, including morphine, codeine, thebaine and papaverine. “Opioid,” by contrast,
refers instead to compounds that have the same effect as opiates but do not occur naturally
in the opium plant, such as heroin, oxycodone, hydrocodone, hydromorphone and
oxymorphone (“semi-synthetic” opioids) as well as methadone, fentanyl, meperidine and
tramadol (“synthetic” opioids).

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Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 10 of 119 PagelD #: 36

dearly as a result.

Figure 1: U.S. Opioid Death Rates Per 100,000 People, 2000-2016
7.0

= Natural and semi-synthetic =» @« Heroin =@= Synthetic

60

50

40

3.0

20

1.0 | 1

 

 

0.0

 

2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016

* Statistically significant at 95% level.
Source: SHADAC analyus of vital statistics data from the COC WONDER system.

co This case is not about taking away medically-necessary opioids from the
patients who need them. Plaintiff does not ask the Court to decide whether opioids are
clinically appropriate, nor does Plaintiff seek to blame the well-meaning healthcare
providers and suppliers who prescribed opioids to their patients in good faith. Instead,
Plaintiff only asks that this Court hold the Defendants accountable for the damage they
caused to Vernon County that Defendants were always in the best position to prevent.

A. The Manufacturer Defendants’ Two-Part Scheme to Increase Opioid

Sales

4, Lirst, as part of a broader scheme to target municipalities in the United States
where the elements most conducive to opioid addiction were prevalent, Defendants
ALLERGAN PLC; ACTAVIS PLC; ACTAVIS, INC; WATSON
PHARMACEUTICALS, INC. n/k/a ACTAVIS, INC.; WATSON LABORATORIES,
INC.; ACTAVIS LLC; ACTAVIS PHARMA, INC. f/k/a WATSON PHARMA, INC.;
MALLINCKRODT, PLC; MALLINCKRODT LLC; SPECGX LLC; TEVA
PHARMACEUTICAL INDUSTRIES, LTD.; TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; ENDO HEALTH SOLUTIONS INC; ENDO
PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICALS, INC.; ORTHO-
MCNEIL-JANSSEN PHARMACEUTICALS, INC, n/k/a JANSSEN

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PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN
PHARMACEUTICALS, INC.; JOHNSON & JOHNSON; NOVARTIS
PHARMACEUTICALS CORPORATION  ff/k/a SANDOZ, INC.; MYLAN N.V.;
MYLAN PHARMACEUTICALS, INC.; MYLAN INSTITUTIONAL, INC.; PAR
PHARMACEUTICAL COMPANIES, INC.; PAR PHARMACEUTICAL, INC.;
HOSPIRA, INC.; HIKMA PHARMACEUTICALS USA INC. f/k/a WEST-WARD
PHARMACEUTICALS CORP.; and the individual defendants JOHN KAPOOR; and
MICHAEL BABICH (“the Manufacturer Defendants”), targeted the State of Missouri,
including the citizens of Vernon County. The Manufacturer Defendants developed and
engaged in a sophisticated, manipulative scheme designed to increase the number of opioid
prescriptions written across the state, including in Vernon County. Defendants’ scheme
was particularly well-suited to Vernon County, because of Vernon County’s rural location
and, therefore, limited access to a variety of health care resources and services that are
generally offered in more populated counties. Additionally, Vernon County is home to
economically and medically vulnerable populations that Defendants knew were uniquely
predisposed to opioid addiction, including the elderly.

5. Second, the Manufacturer Defendants dramatically increased the number of
opioid prescriptions in Vernon County and across the country by (1) concealing the truth
about the risk of addiction and death associated with long-term use of their products, and
(2) pressuring their respective sales forces to deceive and encourage local prescribers to
flood Missouri—and Vernon County—with an abundance of opioids. In 2017, Vernon
County providers wrote 76.3 prescriptions for every 100 persons compared to the Missouri
average of 71.8 opioid prescriptions for every 100 persons and the United States average

rate of 58.7 prescriptions for every 100 persons.” In fact, since 2011, Vernon County’s

 

2 National Institutes of Health (“NIH”), National Institute on Drug Abuse,
Missouri Opioid Summary, DrugAbuse.gov (Mar. 2019),
https://www.drugabuse.gov/opioid-summaries-by-state/missouri-opioid-summary.

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opioid prescribing rate has been consistently and significantly higher than both the State of
Missouri and the United States.

B. The Distributor Defendants Turned a Blind Eye to the Manufacturers’

Scheme

6. Defendants AMERISOURCEBERGEN CORPORATION;
PHARMEDIUM SERVICES, LLC; CARDINAL HEALTH, INC.; CARDINAL
HEALTH 5, LLC; CARDINAL HEALTH 100, INC.; CARDINAL HEALTH 108, LLC;
CARDINAL HEALTH 110, LLC; CARDINAL HEALTH 113, LLC; CARDINAL
HEALTH 122, LLC; CARDINAL HEALTH 132, LLC; CARDINAL HEALTH 200, LLC;
CARDINAL HEALTH 201, INC.; CARDINAL HEALTH 414, LLC; CARDINAL
HEALTH PHARMACY SERVICES, LLC; MORRIS & DICKSON CO., L.L.C.;
PHARMALINK, INC.; and WALMART INC. f/k/a WAL-MART STORES, INC. (the
“Distributor Defendants”) shipped prescription opioids throughout the country, including
Missouri and Vernon County specifically. Rather than meet their obligations under
Missouri law to report suspicious orders of controlled substances, the Distributor
Defendants willfully ignored impossibly large orders being shipped to locations where it
was inconceivable that any legitimate medical need could have required the quantities
shipped. They failed to report these suspicious shipments despite their clear statutory and
common law obligations to do so, and in contravention of their own internal policies and
procedures. The Distributor Defendants’ breaches of their respective reporting obligations
were willful, motivated by their desire to maximize profits, and were committed without
consideration of the cost to Vernon County or its citizenry.

C, The Pharmacy Defendant Understood But Violated Its Duties

7. Defendant WAL-MART STORES EAST I, LP f/k/a WAL-MART STORES
EAST, LP d/b/a WALMART #34 (the “Pharmacy Defendant”) earned enormous profits

 

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by flooding the State of Missouri, including Vernon County, with prescription opioids. It
gained unique knowledge of the oversupply of prescription opioids through the extensive
data and information they developed and maintained in connection with dispensing opioids
to Vernon County patients. Rather than act to stem the flow of opioids into communities
like Vernon County, it participated in and profited from the oversupply.

D. The Devastating Effects of Defendants’ Conduct

8. Each of the Defendants was fully aware that its products placed patients at
an unreasonable risk of opioid-related addiction and/or death. Despite this knowledge, the
Manufacturer Defendants continue to misrepresent the risks associated with prescription
opioids and their efforts to influence physicians with the goal of increasing sales of
prescription opioids to Vernon County citizens. Likewise, the Defendants continue to
breach their duties under Missouri law to monitor, report, and prevent suspicious shipments
of prescription opioids. This conduct precipitated the opioid crisis that has ravaged
Plaintiffs communities for years, and will continue to do so for many years, even decades,
to come. Defendants’ scheme has succeeded—Defendants have made untold billions of
dollars from prescription opioids. Meanwhile, the death toll they have caused in Vernon
County and elsewhere is unconscionable.

9. Vernon County dedicates substantial portions of its tax revenue to provide
and pay for a broad array of services for its population, including, but not limited to, health
care, law enforcement, and other public services. However, as a result of the opioid
epidemic, Vernon County has been significantly hampered in its ability to continue to
provide the requisite level of service in each of these categories for its citizens. This creates
a perverse dichotomy. The overburdened service areas require a greater share of Vernon
County’s scarce tax dollars, while at the same time, the crisis itself decreases the tax dollars
Vernon County can generate. That is because opioid addiction takes productive members
of society out of the economy, usually due to death or the inability to work. Simply put,

most who become addicted to opioids are no longer able to work, and therefore are no

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longer able to care for their families, earn a paycheck or spend money in the same way they
did before they fell victim to addiction. This predictable downward spiral means Vernon
County’s tax revenues have suffered. These harms are the direct and proximate result of
Defendants’ scheme to increase their profits without regard for the end users of
Defendants’ drugs, or the municipalities that must bear the brunt of the increased demand
for their services brought on by the epidemic.

10. Things were not always this way in Vernon County. Though Defendants
have been manufacturing, marketing, distributing, and/or selling prescription opioids for
decades—including brand-name drugs like OxyContin, Percocet, and Duragesic, as well
as generic formulations of these drugs such as oxycodone, hydrocodone, and fentanyl—
only since the late 1990s have Defendants’ powerful narcotic painkillers been used to treat
more than just short-term, acute or cancer-related pain. Indeed, for the vast majority of the
twentieth century, Defendants’ drugs were considered too addictive and debilitating for
patients suffering from long-term (chronic) pain due to non-cancer conditions like arthritis,
fibromyalgia and migraines.?

11. In the late 1990s, however, and continuing today, Defendants began a
sophisticated marketing and distribution scheme premised on deception to persuade
patients that opioids can and should be used to treat chronic pain. Defendants spent, and
some continue to spend, millions of dollars on promotional activities and materials that
falsely deny or trivialize the risks of opioids and overstate the benefits of opioids. As to
the risks, Defendants falsely and misleadingly: (1) downplayed the serious risk of

addiction;* (2) promoted the concept of “pseudoaddiction,” falsely claiming that signs of

 

3 In this Petition, “chronic pain” refers to non-cancer pain lasting three months or
longer.

4 Addiction is classified as a spectrum of “substance use disorders” that range from
misuse and abuse of drugs to addiction. Patients suffer negative consequences wherever
they fall on this spectrum. In this Petition, “addiction” refers to the entire range of substance
abuse disorders. (See, e.g., American Society of Addiction Medicine (““ASAM”), Public

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addiction should be treated with more opioids; (3) exaggerated the effectiveness of
screening tools in preventing addiction; (4) claimed that opioid dependence and withdrawal
are easily managed; (5) denied the risks of higher opioid dosages; and (6) exaggerated the
effectiveness of abuse-deterrent opioid formulations to prevent abuse by—inter alia—
falsely claiming these opioids “cannot be crushed.” Defendants also falsely touted the
benefits of long-term opioid use, including its supposed ability to improve function and
quality of life, even though there was no credible evidence to support those benefits—a
fact that Defendants not only knew at all times relevant to this action, but effectively
suppressed and concealed.

12. Indeed, at all times relevant to this action, Defendants knew their
longstanding and ongoing misrepresentations of the risks and benefits of opioids were not
supported by or were directly contrary to the scientific evidence. Moreover, regulators and
the medical community at large have come to recognize the serious risks posed by opioid
pain medications. Indeed, according to recently established and widely accepted clinical
guidelines for opioid therapy, “[t]he science of opioids for chronic pain is clear: for the
vast majority of patients, the known, serious, and too-often-fatal risks far outweigh the
unproven and transient benefits.”°

13. Opioid manufacturers, including Defendant Endo Pharmaceuticals, Inc., has
also entered into agreements with public entities that prohibit them from making many of
the misrepresentations identified in this Petition in other jurisdictions. Yet, even now,
Defendants continue to misrepresent the risks and benefits of long-term opioid use in

Missouri, including in Vernon County, and continue to fail to correct their past

 

Policy Statements, Terminology Related to the Spectrum of Unhealthy Substance Use, p.
1-2 (July 2013), https://www.asam.org/docs/default-source/public-policy-statements/1-
terminology-spectrum-sud-7-13.pdf?sfvrsn=d93c69c2_2.

> Thomas R. Frieden et al., Reducing the Risks of Relief—The Opioid Prescribing
Guideline, 374 New Eng. J. Med. 1501-1504 (2016).

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Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 16 of 119 PagelD #: 42

misrepresentations.

14. Specifically, Defendants concealed what their own internal documents and
communications show they already knew, and had known for decades: not only were
Defendants’ opioids both medically unnecessary and, in fact, life-threatening for non-
cancer patients with chronic pain, but further, none of Defendants’ representations about
the manageability or prevention of opioid addiction was true. As set forth in detail below,
for decades, the Manufacturer and Distributor Defendants have made and continue to make
a series of inaccurate claims about the risks and benefits associated with their opioids,
essentially bribing Key Opinion Leader (“KOL”) groups to substantiate the veracity of
Defendants’ false statements. In creating the illusion that prescription opioids were a low
risk treatment option for chronic pain relative to non-opioid pharmacologic approaches.
Defendants successfully targeted vulnerable patient populations like the elderly.
Defendants further tainted the sources that many healthcare providers and patients in
Vernon County relied upon for guidance, including treatment guidelines, continuing
medical education programs, medical conferences and seminars, and scientific articles. As
a result, Defendants successfully transformed the way doctors treat chronic pain in Vernon
County, opening the floodgates of opioid prescribing and use. This explosion in opioid
prescriptions and use has padded Defendants’ profit margins at the expense of chronic pain

patients,

Number of Opioid Related Overdose Deaths in

Missouri

1000 914
Total

   

uu
= 300 —®=Heroin
a == Synthetic Opioids
5 600 Rx Opioids
B
2 400
2
= 200
0

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PPP APP ingP AP Pgh PrP Oro qd” Orn” AO” 4S
Source: CDC WONDER

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15. | The explosion in opioid prescriptions and use caused by Defendants has led
to a public health crisis in Missouri and, in particular, Vernon County. Missouri faces
skyrocketing opioid addiction and opioid-related overdoses and deaths as well as
devastating social and economic consequences. This public health crisis is a public
nuisance because it is an offense against the public order and economy and violates the
public’s right to life, health, and the use of property, while, at the same time, annoys,
injures, endangers, renders insecure, interferes with, or obstructs the rights or property of
the whole community, or neighborhood, or of any considerable number of persons. Public
rights include the public health, the public safety, the public peace, the public comfort, or
the public convenience. The effects of Defendants’ deceptive marketing scheme are
catastrophic and are only getting worse. These effects are devastating in Missouri. In
2010, Missouri had the 7" highest prescription drug overdose mortality rate in the country.
In 2016, nearly three Missourians died each day from an opioid overdose at a rate of 1 out
of every 66 deaths, a significant increase from 1 out of every 89 deaths in 2015.° In 2017,
there were approximately 951 opioid or heroin-related deaths in Missouri at a rate of 16.5
deaths per 100,000 people, higher than the national rate of 14.6 deaths per 100,0000
people.’ Indeed, in February 2016, regulators acknowledged that “[t]hings are getting
worse, not better, with the epidemic of opioid misuse, abuse and dependence.”

16. There is little doubt that Defendants’ deceptive marketing and distribution
scheme has precipitated this public health crisis in Missouri, including in Vernon County,
by dramatically increasing opioid prescriptions and use. An oversupply of prescription

opioids has provided a source for illicit use or sale of opioids (the supply), while the

 

6 Missouri Hospital Association, The Economic Cost of the Opioid Epidemic in
Missouri (January 2018), https://www.mhanet.com/mhaimages/HIDIHealthStats/
Feb2018HealthStats Special_OpioidsEconomy.pdf.

7 National Institute on Drug Abuse, Missouri Opioid Summary,

https://www.drugabuse.gov/opioid-summaries-by-state/missouri-opioid-summary.

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widespread use of opioids has created a population of patients physically and
psychologically dependent on them (the demand). And when those patients can no longer
afford or legitimately obtain opioids, they often turn to the street to buy prescription opioids
or even heroin.

17. Defendants’ deceptive marketing and distribution scheme have had further
foreseeable impacts on Vernon County. As a result of Defendants’ conduct, Vernon
County must devote increased resources to mitigate the incidence of drug and property
crimes committed by individuals in order to feed their opioid-related addictions. Tax
dollars are being used to maintain the public safety of places where these individuals
attempt to congregate, including parks, schools and public lands. Tax dollars are also
required to fight the infectious diseases brought on by opioid addicts. Hepatitis B and C,
HIV, sexually transmitted disease and methicillin-resistant Staphylococcus aureus
(“MRSA”) have been demonstrated to be spread by opioid abuse.

18. Defendants’ willful and wrongful conduct has further impacted Vernon
County by creating a public nuisance in Vernon County, which Defendants foresaw, yet
deliberately ignored. Defendants were aware at all relevant times when they deceptively
marketed their products as non-addictive that such addiction would be highly difficult to
overcome.

19. The role of Defendants’ deceptive marketing and distribution scheme in
causing this public health crisis has become well-recognized in recent years. In her May
2014 testimony to the Senate Caucus on International Narcotics Control on behalf of
regulators, Dr. Nora Volkow explained that “aggressive marketing by pharmaceutical
companies” is “likely to have contributed to the severity of the current prescription drug

abuse problem.”*® In the years since her comments were initially published, Dr. Volkow’s

 

8 N. Volkow, M.D., America’s Addiction to Opioids: Heroin and Prescription Drug
Abuse, National Institute on Drug Abuse, (May 14, 2014),
https://archives.drugabuse.gov/testimonies/20 14/americas-addiction-to-opioids-heroin-

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message has become the dominant view of the top experts and influencers in the medical
community, who are finally realizing just how addictive Defendants’ opioids are, and how
devastating the economic and social costs of Defendants’ intentional deception have been.?

20. Absent the Manufacturer Defendants’ deceptive marketing scheme and the
Distributor and Pharmacy Defendants’ improper distribution, the opioid use, misuse,
abuse, and addiction in Vernon County would not have become so widespread, and the
opioid epidemic that now exists would have been averted or much less severe.

21. By falsely downplaying the risks and grossly exaggerating the benefits of
long-term opioid use through their deceptive marketing claims, despite their knowledge of
the falsity of those claims, and by improperly distributing prescription opioids as set forth
herein, Defendants have not only engaged in false advertising and unfair competition, but
they have also created or assisted in the creation of a public nuisance.

22. Accordingly, Defendants’ conduct, both individually and collectively, has
violated and continues to violate Missouri’s public nuisance laws. Vernon County does
not ask this Court to weigh the risks and benefits of long-term opioid use. Instead, Vernon
County seeks an order requiring Defendants to cease their unlawful promotion and
distribution of opioids, to correct their misrepresentations, and to abate the public nuisance
they have created. To redress and punish Defendants’ previous and current violations of
law that cause and continue to cause harm to Vernon County and its citizens, Vernon
County seeks a judgment requiring Defendants to pay civil penalties, and any fees or costs
permitted under law, in an amount to be determined at trial.

23. By this action, Vernon County further seeks to recoup tax dollars spent for

 

prescription-drug-abuse.

° E. O’Brien, Here’s What it Would Cost to Fix the Opioid Crisis, According to 5
Experts, Time Money (Nov. 27, 2017), http://time.com/money/5032445/cost-fix-opioid-
crisis/.

1181379.1/81715.05012 18

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the consequences of Defendants’ wrongful conduct in causing the opioid epidemic and its
impact on Vernon County, and to abate the opioid nuisance so Vernon County will not be
required to spend further taxpayer dollars on the epidemic wrought by Defendants.

II. PARTIES

A. Plaintiff

24. Vernon County, Missouri, by and through its attorneys hereto, brings this
action so as to protect the public from false and misleading advertising, unlawful, unfair,
and fraudulent business practices, and a public nuisance. Pursuant to Missouri law, Vernon
County, Missouri is a citizen of Missouri.

25. Vernon County is comprised of the cities of Bronaugh, Schell City, Sheldon,
and Nevada, which also serves as the county seat, and the villages of Deerfield, Harwood,
Milo, Metz, Moundville, Richards, and Stotesbury. With a strong agricultural heritage and
rich history, Vernon County is home to approximately 20,665 citizens, the majority of
which are families and seniors. Vernon County is appealing because of its affordable and
historic housing and is home to many historical attractions, recreational activities, parks,
and a variety of local sports attractions. In fact, Nevada has been named as a “Top Ten
Best Community to Live” based on its green space amenities.’ Vernon County is also

B. Manufacturer Defendants

1. Actavis/Allergan

26. Defendant Allergan plc is a public limited company incorporated in Ireland
with its principal place of business in Dublin, Ireland. Actavis ple acquired Allergan plc
in March 2015, and the combined company changed its name to Allergan ple in June 2015.
Before that, Watson Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012, and the
combined company changed its name to Actavis, Inc. as of January 2013 and then Actavis

ple in October 2013. Defendant Actavis, LLC is a limited liability company, formed in

 

10 https://nevada-mo.com/lifestyle/.

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Delaware, headquartered in New Jersey, and, on information and belief, has members who
ate citizens of New Jersey and Pennsylvania. Defendant Watson Laboratories, Inc. is a
Nevada corporation with its principal place of business in Corona, California, and is a
wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a Watson
Pharmaceuticals, Inc.). Defendant Actavis Pharma, Inc. (f/k/a Actavis, Inc.) is registered
to do business in Missouri as a Delaware corporation with its principal place of business in
New Jersey, and was formerly known as Watson Pharma, Inc. Defendant Actavis plc is a
Delaware limited liability company with its principal place of business in Parsippany, New
Jersey. Each of these Defendants is owned by Allergan ple, which uses them to market
and sell its drugs in the United States, including in Missouri and Vernon County
specifically. Upon information and belief, Allergan ple exercises control over these
marketing and sales efforts and profits from the sale of Allergan/Actavis products
ultimately inure to its benefit. (Allergan plc, Actavis ple, Actavis, Inc., Actavis LLC,
Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson
Laboratories, Inc. are referred to in this Petition as “Actavis.”)

27.  Actavis manufactures, promotes, sells, and distributes opioids, including the
branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of
Duragesic and Opana, in the U.S. and Missouri and Vernon County specifically. Actavis
acquired the rights to Kadian from King Pharmaceuticals, Inc., on December 30, 2008 and
began marketing Kadian in 2009.

2. Cephalon

28. Defendant Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its
principal place of business in Frazer, Pennsylvania. Defendant Teva Pharmaceutical
Industries, Ltd. (“Teva Ltd.”) is an Israeli corporation with its principal place of business
in Petah Tikva, Israel. In 2011, Teva Ltd. acquired Cephalon, Inc. Defendant Teva
Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware corporation and is a wholly owned

subsidiary of Teva Ltd. in Pennsylvania. It is registered to do business in Missouri.

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29. Cephalon manufactures, promotes, sells, and distributes opioids such as
Actiq and Fentora in the United States, including in Missouri and Vernon County
specifically. Both Actiq and Fentora are over 100-times more powerful than morphine.
Thus, Actiq has been approved only for the “management of breakthrough cancer pain in
patients 16 years and older with malignancies who are already receiving and who are
tolerant to around-the-clock opioid therapy for the underlying persistent cancer pain.”
Similarly, Fentora is approved only for the “management of breakthrough pain in cancer
patients 18 years of age and older who are already receiving and who are tolerant to around-
the-clock opioid therapy for their underlying persistent cancer pain.” Neither Actiq nor
Fentora are appropriate treatments for chronic pain.

3. Teva

30.  TevaLtd., Teva USA, and Cephalon work together closely to market and sell
Cephalon products in the United States, including in Missouri and Vernon County
specifically. Teva Ltd. conducts all sales and marketing activities for Cephalon in the
United States through Teva USA and has done so since its October 2011 acquisition of
Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to the
public. Teva USA sells all former Cephalon branded products through its “specialty
medicines” division. The approved prescribing information and medication guide, which
is distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA,
and directs physicians to contact Teva USA to report adverse events.

31. All of Cephalon’s promotional websites, including those for Actiq and
Fentora, display Teva Ltd.’s logo. Teva Ltd.’s financial reports list Cephalon’s and Teva
USA’s sales as its own, and its year-end report for 2012—the year immediately following
the Cephalon acquisition—attributed a 22% increase in its specialty medicine sales to “the
inclusion of a full year of Cephalon’s specialty sales,” including inter alia sales of Fentora.
Through interrelated operations like these, Teva Ltd. operates in the United States through
its subsidiaries Cephalon and Teva USA. The United States is the largest of Teva Ltd.’s

1181379.1/81715.05012 21

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global markets, representing 53% of its global revenue in 2015, and, were it not for the
existence of Teva USA and Cephalon, Teva Ltd. would conduct those companies’ business
in the United States itself. Upon information and belief, Teva Ltd. directs the business
practices of Cephalon and Teva USA, and their profits inure to the benefit of Teva Ltd. as
controlling shareholder. Teva has engaged in consensual commercial dealings with
Vernon County’s citizens and has purposefully availed itself of the advantages of
conducting business with and within Vernon County. Teva Pharmaceutical Industries,
Ltd., Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon”
for the remainder of this Petition.

32. Notably, on May 26, 2019, Teva Pharmaceuticals agreed to settle its lawsuit
brought by the Oklahoma Attorney General on behalf of the State of Oklahoma for $85
million dollars which accuses Teva (and other manufacturers) of creating a public nuisance
through its production and marketing of prescription opioids.'' Vernon County alleges
similar claims against Teva and its subsidiaries in this Petition.

4. Endo/Par

33. Defendant Endo Health Solutions Inc. is a Delaware corporation with its
principal place of business in Malvern, Pennsylvania. Defendant Endo Pharmaceuticals,
Inc. is a wholly owned subsidiary of Endo Health Solutions Inc. and is a Delaware
corporation with its principal place of business in Malvern, Pennsylvania. (Endo Health
Solutions Inc. and Endo Pharmaceuticals Inc. are referred to as “Endo”).

34. Endo develops, markets, and sells prescription drugs, including the brand-
name opioids Opana/Opana ER, Percodan, Percocet, and Zydone. Endo also manufactures

and sells generic opioids—i.e., oxymorphone, oxycodone, hydrocodone, morphine, and

 

11 Oklahoma Attorney General, Press Release—Attorney General Hunter

Announces Settlement with Teva Pharmaceuticals, (May 26, 2019),
http://www.oag.ok.gov/attorney-general-hunter-announces-settlement-with-teva-
pharmaceuticals.

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codeine in the United States and Missouri, by itself and through its subsidiaries, Qualitest
Pharmaceuticals, Inc. and Par Pharmaceuticals, Inc. Opioids made up roughly $403
million of Endo’s overall revenue of $3 billion in 2012. Opana ER, for instance, yielded
$1.15 billion in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total
revenue in 2012.

35. Defendants Par Pharmaceutical, Inc. and Par Pharmaceutical Companies,
Inc. (collectively, “Par”) are New York corporations with their principal places of business
in New York. Par was acquired by Endo in 2015. Par is the fifth largest manufacturer of
generic pharmaceuticals in the world, including oxycodone, oxymorphone, and
hydrocodone. At all times relevant, Par manufactured and marketed prescription opioids
throughout the United States, including in Missouri and Vernon County specifically. Par
has engaged in consensual commercial dealings with Vernon County’s residents and has
purposefully availed itself of the advantages of conducting business with and within
Vernon County. On information and belief, in 2013, Par pleaded guilty to misbranding its
drugs. For the remainder of this Petition, Endo and Par are collectively referred to as
“Endo.”

5. Janssen

36. Defendant Janssen Pharmaceuticals, Inc. (formerly known as Ortho-McNeil-
Janssen Pharmaceuticals, Inc. and Janssen Pharmaceutica, Inc.) is registered to do business
in Missouri as a Pennsylvania corporation with its principal place of business in Titusville,
New Jersey, and is a wholly owned subsidiary of Defendant Johnson & Johnson (“J&J”),
a New Jersey corporation with its principal place of business in New Brunswick, New

3

Jersey. These entities, which are collectively referred to herein as “Janssen,” acted in
concert with one another—as agents and/or principals of one another—in connection with
the conduct described herein. J&J is the only company that owns more than 10% of Janssen
Pharmaceuticals’ stock, and corresponds with regulators regarding Janssen’s products.

Upon information and belief, J&J controls the sale and development of Janssen

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Pharmaceuticals’ drugs and Janssen’s profits inure to J&J’s benefit. The Janssen and J&J
parties are collectively referred to as “Janssen.”

37. Janssen manufactures, promotes, sells, and distributes drugs in the U.S. and
Missouri and Vernon County specifically, including the opioid Duragesic. Before 2009,
Duragesic accounted for at least $1 billion in annual sales. Until January 2015, Janssen
developed, marketed, and sold the opioids Nucynta and Nucynta ER, which also generated
substantial sales revenue for the company, accounting for $172 million in sales in 2014
alone.

6. Johnson & Johnson

38. Defendant Johnson & Johnson (“J&J”’), a New Jersey corporation with its
principal place of business in New Brunswick, New Jersey, imposes a code of conduct on
Janssen as a pharmaceutical subsidiary of J&J. The “Every Day Health Care Compliance
Code of Conduct” posted on Janssen's website is a J&J company-wide document that
describes Janssen as one of the “pharmaceutical Companies of Johnson and Johnson” and
as one of the “Johnson & Johnson Pharmaceutical Affiliates.” It governs how “[alll
employees of Johnson & Johnson Pharmaceutical Affiliates,” including those of Janssen,
“market, sell, promote, research, develop, inform and advertise Johnson & Johnson
Pharmaceutical Affiliates’ products.” All Janssen officers, directors, employees, and sales
associates must certify that they have “read, understood and will abide by” the code of
conduct. Thus, the code of conduct governs all forms of marketing at issue in this case.

39. In addition, J&J made payments to front groups, discussed herein, who
perpetuated and disseminated Defendants’ misleading marketing messages regarding the

risks and benefits of opioids.

 

22 U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking
Member's Office, Staff Report, Fueling an Epidemic, Report Two, Exposing the Financial
Ties Between Opioid Manufacturers and Third Party Advocacy Groups, n. 23 (“Payments
from Janssen include payments from Johnson & Johnson Health Care Systems, Inc.”).

1181379.1/81715.05012 24

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7. Mallinckrodt/SpecGX

40. Defendant Mallinckrodt plc is an Irish public limited company headquartered
in Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis,
Missouri. Mallinckrodt plc was incorporated in January 2013 for the purpose of holding
the pharmaceuticals business of Covidien ple, which was fully transferred to Mallinckrodt
in June of that year. Mallinckrodt began as a U.S.-based company, with the founding of
Mallinckrodt & Co. in 1867, Tyco International Ltd. acquired the company in 2000. In
2008, Tyco Healthcare Group separated from Tyco International Ltd. and renamed itself
Covidien.

41. Defendant Mallinckrodt LLC is a limited liability company formed in
Delaware and headquartered with its principal place of business in St. Louis, Missouri.
According to the company’s regulatory filings, Cathi M. Ponciroli is the designated
manager of Mallinckrodt LLC, with a business address located in Hazelwood, Missouri.
Therefore, Mallinckrodt LLC is a citizen of the State of Missouri for jurisdictional
purposes. Mallinckrodt LLC is a wholly owned subsidiary of Mallinckrodt, ple.

42. Defendant SpecGX LLC (“SpecGX”) is a limited liability company formed
in Delaware and headquartered with its principal place of business in St. Louis, Missouri.
SpecGX is a wholly owned subsidiary of Mallinckrodt ple. According to the company’s
regulatory filings, Marvin Haselhorst is the designated member or manager of SpecGX,
with a business address located in Webster Groves, Missouri. According to its Drug
Enforcement Agency application, SpecGX registered its address at 3600 North Second
Street, St. Louis, Missouri 63147. Consequently, SpecGX is a citizen of the State of
Missouri for jurisdiction purposes and this matter is properly venued in St. Louis City.

43. Together, Mallinckrodt plc, Mallinckrodt LLC, and SpecGX LLC
(collectively, “Mallinckrodt”) manufacture, market, and sell drugs in the United States,
including in Missouri and Vernon County specifically. As of 2012, it was the largest U.S.

supplier of opioid pain medications. In particular, it is one of the largest manufacturers of

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oxycodone in the U.S.

44. Mallinckrodt currently manufactures and markets two branded opioids:
Exalgo, which is extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage
strengths, and Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths.
In addition, Mallinckrodt previously developed, promoted, and sold the following branded
opioid products: Magnacet, TussiCaps, and Xartemis XR.

45. While it has sought to develop its branded opioid products, Mallinckrodt has
long been a leading manufacturer of generic opioids. Mallinckrodt estimated that, in 2015,
it received approximately 25% of one regulator’s entire annual quota for controlled
substances that it manufactures. Mallinckrodt also estimated, based on health data for the
same period, that its generics claimed an approximately 23% market share of opioid and
oral solid dose medications.

46. Mallinckrodt operates a vertically integrated business in the United States:
(1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily
at its facility in Hobart, New York, and (3) marketing and selling its products to drug
distributors, specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical
benefit managers that have mail-order pharmacies, and hospital buying groups throughout
the United States, including in Missouri and Vernon County specifically.

8. Sandoz

47. A subsidiary of Novartis International AG, Defendant Novartis
Pharmaceuticals Corporation f/k/a Sandoz, Inc. (“Sandoz”) is headquartered in Princeton,
New Jersey and develops, manufactures, markets and distributes generic pharmaceutical
products, including fentanyl. At all times relevant, Sandoz manufactured and marketed
prescription opioids throughout the United States, including in Missouri and Vernon
County specifically. On information and belief, Sandoz is a top manufacturer of fentanyl

to Vernon County.

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9. Mylan

48. Defendant Mylan Institutional Inc. (“Mylan Institutional”) is an Illinois
corporation headquartered in Rockford, Illinois. Mylan manufactures and markets
pharmaceutical products. Defendant Mylan Pharmaceuticals, Inc. (“Mylan
Pharmaceuticals”) is based in Morgantown, West Virginia, and is also a major
manufacturer and marketer of opioids in Vernon County. Both Mylan Institutional and
Mylan Pharmaceuticals are subsidiaries of Defendant Mylan N.V., the second-largest
generic and specialty pharmaceuticals company in the world, registered in the Netherlands
with principal executive offices in Hatfield, Hertfordshire, UK and a global center in
Canonsburg, Pennsylvania. (Mylan Institutional, Mylan Pharmaceuticals, and Mylan N.V.
shall collectively be referred to as “Mylan.”) At all times relevant, Mylan manufactured
and marketed prescription opioids throughout the United States, including in Missouri and
Vernon County specifically. On information and belief, Mylan is a top manufacturer of
fentanyl, oxycodone, morphine and codeine in Vernon County.

49. In 2000, Mylan agreed to pay $100 million to resolve allegations that it
conspired to deny its competitors certain necessary ingredients to manufacture several
widely-prescribed medications, including treatments for opioid use disorder and opioid
addiction. As alleged in petitions filed by thirty-two State Attorneys General and the
District of Columbia, Mylan’s conduct caused substantial price increases in, and
improperly limited the supply of, these treatments.

10. Hospira, Inc.

50. Defendant Hospira, Inc. (“Hospira”) is a Delaware corporation, with its
principle place of business in Lake Forest, Illinois and is the former hospital-products
division of Abbott Laboratories. Hospira was the world’s largest producer of generic
injectable pharmaceuticals before being acquired by Pfizer in September 2015. Since then,
Hospira has been cited by regulatory agencies for both failing to operate its manufacturing

facilities in compliance with basic health and safety guidelines intended to prevent

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microbiological contamination of Hospira’s products—including opioids—and for failing
to investigate known defects in its products.

51. At all times relevant to this action, Hospira manufactured and marketed
opioids across the county and in Missouri and Vernon County specifically. On information
and belief, Hospira is a top manufacturer of fentanyl, morphine, hydromorphone,
meperidine and buprenorphine in Vernon County.

11. West-Ward Pharmaceuticals Corp.

52. Defendant Hikma Pharmaceuticals USA Inc. f/k/a West-Ward
Pharmaceuticals Corp. is headquartered in Eatontown, New Jersey and manufactures,
markets and/or distributes opioids such as fentanyl and morphine. West-Ward
Pharmaceuticals Corp. (“West-Ward”) is a wholly owned subsidiary of Hikma
Pharmaceuticals plc, and represented 51% of Hikma’s group sales in 2014. Since acquiring
Baxter Healthcare Corporation’s Multi-Source Injectables division in 2011, West-Ward
has become the second largest injectable supplier by volume in the country. At all times
relevant, West-Ward manufactured and marketed prescription opioids throughout the
United States, including in Missouri and Vernon County specifically.

53. In 2013, West-Ward was forced to pay penalties for shirking the company’s
legal obligation to make timely payments to drug discount programs that provide
vulnerable patient population with affordable access to pharmaceuticals, and also agreed
to pay $10,000,000 to resolve allegations that West-Ward had also been inflating
prescription drug prices since 1995, effectively overcharging some of its most vulnerable
patient populations.

12. The Insys Individual Defendants: John Kapoor and Michael
Babich

54.  Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal

place of business in Chandler, Arizona and is registered to do business in Missouri. Insys

manufactures, markets, sells and distributes nationwide several types of opioids, including

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Subsys—a fentanyl sublingual spray and semi-synthetic opioid antagonist—as well as
Syndros, a cannabinoid medicine used in adults to treat common side-effects of opioid use,
particularly for patients whose nausea and vomiting have not improved with usual anti-
nausea and vomiting medicines. Subsys and Syndros were approved for widespread use
in 2012 and 2016, respectively.

55.  Subsys is indicated “for the management of breakthrough pain in cancer
patients 18 years of age and older who are already receiving and are tolerant to opioid
therapy for their underlying persistent cancer pain.”'? The indication also specifies that
“Subsys is intended to be used only in the care of cancer patients and only by oncologists
and pain specialists who are knowledgeable of and skilled in the use of Schedule IT opioids
to treat cancer pain.” In addition, the indication provides that “[p]atients must remain on
around-the-clock opioids when taking SUBSYS.” Subsys is contraindicated for, among
other ailments, the “[m]anagement of acute or postoperative pain including
headache/migraine and dental pain.” It is available in 100 mcg, 200 mcg, 400 mcg, 600
meg and 800 mcg dosage strengths.

56.  Insys’s revenue is derived almost entirely from Subsys. According to its
Form 10-K for 2015, Insys reported revenues of $331 million. Of that total, $329.5 million
was derived from sales of Subsys. The majority of Insys’s sales of Subsys are through
wholesalers, including Defendants AmerisourceBergen and Cardinal Health. In 2015,
those wholesalers respectively comprised 20% and 14% of Insys’s total gross sales of
Subsys.

57. On June 7, 2019, the pharmaceutical arm of Insys formally pled guilty to

 

3 The indication provides that “[p]atients considered opioid tolerant are those who
are taking around-the-clock medicine consisting of at least 60 mg of oral morphine daily,
at least 25 mcg of transdermal fentanyl/hour, at least 30 mg of oral oxycodone daily, at
least 8 mg of oral hydromorphone daily or an equianalgesic dose of another opioid daily
for a week or longer.”

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federal charges connected to allegations that the company bribed doctors to prescribe a
powerful opioid to patients who did not need it, as part of a $225 million dollar deal entered
into with the federal government in United States District Court for the District of
Massachusetts. 4

58. Defendant John Kapoor is the founder and majority owner of Insys. In
October of 2017, Kapoor was arrested and charged with various violations of fraud and
abuse laws as well as conspiracy for his alleged participation in a nationwide scheme to
bribe healthcare providers in various states, including Missouri, to prescribe Subsys. On
May 2, 2019, he was found guilty of these charges in connection with running a nation-
wide bribery scheme.!> He is a citizen of Phoenix, Arizona, and a current member of the
Board of Directors of Insys.

59. Defendant Michael Babich is the former CEO and President of Insys. In
2017, he was also arrested on charges of various violations of fraud and abuse laws as well
as conspiracy in connection with running a nationwide bribery scheme to increase sales of
Subsys. In January 2019, Babich pleaded guilty to these charges.’® He is a citizen of

Scottsdale, Arizona.

 

14 https://www.law360.com/articles/1 166925/insys-pleads-guilty-to-fraud-in-
opioid-bribe-scheme.

15 Emanuel, Gabrielle, Opioid Executive John Kapoor Found Guilty in Landmark
Bribery Case (May 2, 2019), https://www.npr.org/2019/05/02/71134608 1/opioid-
executive-john-kapoor-found-guilty-in-landmark-bribery-case.

16 Jonathan Saltzman, Former CEO says Insys founder pushed for higher doses of
opioid, BOSTON GLOBE (Feb. 12, 2019), _ https://www2.bostonglobe.com/
business/2019/02/12/former-ceo-says-insys-founder-pushed-for-higher-doses-opioid/aZ
hLcDEnayOO3dzPlFn9gN/story. html.

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Cc. Distributor Defendants
1. AmerisourceBergen/PharMEDium Services

60. Defendant Distributor AmerisourceBergen Corporation
(“AmerisourceBergen’”) is a publicly traded company headquartered in Pennsylvania and
incorporated under the laws of Delaware. It is registered to do business in Missouri.
AmerisourceBergen is in the chain of distribution of prescription opioids. At all relevant
times, AmerisourceBergen was in the business of distributing substantial amounts of
prescription opioids to providers and retailers. AmerisourceBergen has engaged in
consensual commercial dealings in Vernon County, and has purposefully availed itself of
the advantages of conducting business with and within Vernon County.

61. Defendant Distributor PharMEDium Services, LLC is a Delaware limited
liability company headquartered in Lake Forest, Illinois, and is a business unit of parent
company, AmerisourceBergen. PharMEDium Services, LLC’s manager is Pharmedium
Healthcare Corp. which is headquartered in Lake Forest, Illinois. Therefore, PharMEDium
Services, LLC is a citizen of Illinois. It is registered to do business in Missouri.
AmerisourceBergen acquired PharMEDium Services LLC in October 2015, and the
acquisition was finalized in September 2016.

62. PharMEDium is the leading provider of pharmacy outsourced, ready-to-use
compounded sterile preparations and supplies medications to around 77 percent of
hospitals across the country.” PharMEDium offers continuous pain management
admixture services which come in a range of drugs and concentrations and includes
fentanyl HCI I hydromorphone HCI I morphine sulfate. PharMEDium manufactures,
promotes, sells, and distributes opioids such as fentanyl] and hydromorphone in the United
States, including in Missouri and Vernon County specifically.

63. On July 10, 2019, PharMEDium issued a voluntary recall of 28,000 syringes
containing hydromorphone hydrochloride. The recall was the latest issue in a long history

of safety issues with PharMEDium’s manufacture and distribution of opioid medication.

1181379. 1/81715.05012 31

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Notably, in May 2019, a permanent injunction was issued against PharMEDium for
repeated safety lapses. (AmerisourceBergen Corporation and PharMEDium Services, LLC
shall collectively be referred to as “AmerisourceBergen.”’)
2. Cardinal Health

64. Defendant Distributor Cardinal Health, Inc. is an Ohio pharmacy wholesaler
and drug distribution corporation with its headquarters located in Dublin, Ohio. Defendant
Distributor Cardinal Health 100, Inc. is an Indiana corporation with its principal place of
business located in Dublin, Ohio. Defendant Distributor Cardinal Health 108, LLC is a
limited liability company, formed in Delaware, with its principal place of business located
in LaVergne, Tennessee. Upon information and belief, at least one of Cardinal Health 108,
LLC’s members is a citizen of Ohio. Defendant Distributors Cardinal Health 110, LLC;
Cardinal Health 200, LLC; Cardinal Health 414, LLC; and Cardinal Health 5, LLC are
limited liability companies formed in Delaware, with their principal place of business in
Dublin, Ohio. Upon information and belief, at least one of Cardinal Health 110, LLC’s;
Cardinal Health 200, LLC’s; Cardinal Health 414, LLC’s; and Cardinal Health 5, LLC’s
members is a citizen of Ohio. Defendant Cardinal Health 201, Inc. is a for-profit Delaware
corporation with its principal place of business in Dublin, Ohio. Defendant Distributor
Cardinal Health 122, LLC is a limited liability company formed in Delaware, with its
principal place of business in Ellicott City, Maryland. On information and belief, at least
one of Cardinal Health 122, LLC’s members is a citizen of Ohio. Defendant Distributors
Cardinal Health 132, LLC and Cardinal Health Pharmacy Services, LLC are limited
liability companies formed in Delaware, with their principal place of business in Houston,
Texas. Upon information and belief, at least one of Cardinal Health 132, LLC’s and
Cardinal Health Pharmacy Services, LLC’s members is a citizen of Ohio. Defendant
Distributor Cardinal Health 113, LLC is a limited liability company formed in Wisconsin,
with its principal place of business in Germantown, Wisconsin. Upon information and

belief, at least one of Cardinal Health 113, LLC’s members is a citizen of Ohio. (Cardinal

1181379.1/81715.05012 32

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Health, Inc.; Cardinal Health 100, Inc.; Cardinal Health 108, LLC; Cardinal Health 110,
LLC; Cardinal Health 200, LLC; Cardinal Health 201, Inc.; Cardinal Health 414, LLC;
Cardinal Health 5, LLC; Cardinal Health 122, LLC; Cardinal Health 132, LLC; Cardinal
Health Pharmacy Services, LLC; and Cardinal Health 113, LLC are all registered to do
business in Missouri and shall collectively be referred to as “Cardinal Health.”) At all
relevant times, Cardinal Health was in the business of distributing substantial amounts of
prescription opioids to providers and retailers. Cardinal Health has engaged in consensual
commercial dealings in Vernon County, and has purposefully availed itself of the
advantages of conducting business with and within Vernon County. Cardinal Health is in
the chain of distribution of prescription opioids.
3. Morris & Dickson Co.

65. Defendant Morris & Dickson Co., L.L.C. (“Morris & Dickson”) is a limited
liability company formed in Louisiana and headquartered with its principal place of
business in Shreveport, Louisiana. It is registered to do business in Missouri. According
to the company’s regulatory filings, Paul Meade Dickson is the designated manager of
Morris & Dickson with a business address located in Shreveport, Louisiana. Therefore,
Morris & Dickson is a citizen of Louisiana. At all relevant times, Morris & Dickson was
in the business of distributing substantial amounts of prescription opioids to providers and
retailers. Morris & Dickson has engaged in consensual commercial dealings in Vernon
County, and has purposefully availed itself of the advantages of conducting business with
and within Vernon County. Morris & Dickson is in the chain of distribution of prescription
opioids.

66. In May 2018, regulators suspended the registration of Morris & Dickson
from distributing controlled substances, specifically oxycodone and hydrocodone. This
came as a result of an investigation that alleged that the “distribution center failed to
properly identify large suspicious orders for controlled substances sold to independent

pharmacies with questionable need for the drugs. The investigation, which focused

1181379,1/81715.05012 33

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primarily on purchases of oxycodone and hydrocodone, revealed that in some cases,
pharmacies were allowed to purchase as much as six times the quantity of narcotics the
pharmacy would normally order.” In October 2017, regulators became aware that Morris
& Dickson had not filed any suspicious order reports on multiple top purchasing
pharmacies which had high-volume sales of oxycodone and hydrocodone “not indicative
of the pharmaceutical market.” The investigation of Morris & Dickson ultimately
determined that “the continued registration of this company constitutes a substantial
likelihood of imminent danger to public health and safety.”
4. Pharmalink

67. Defendant Pharmalink, Inc. (“Pharmalink”) is a Florida corporation with its
principal place of business in Largo, Florida. It is registered to do business in Missouri.
Pharmalink is in the chain of distribution of prescription opioids. At all relevant times,
Pharmalink was in the business of distributing substantial amounts of prescription opioids
to providers and retailers. Pharmalink has engaged in consensual commercial dealings in
Vernon County, and has purposefully availed itself of the advantages of conducting
business with and within Vernon County.

5. Walmart

68. Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. (“Walmart”) is a
Delaware corporation with its principle place of business in Arkansas.

69. At all times relevant, Walmart distributed prescription opioids throughout
the United States, including in Missouri and Vernon County specifically. On information
and belief, these opioids were distributed to Vernon County by at least two Walmart
entities—i.e., Wal-Mart Pharm Warehouse # 1 (located at 2252 North 8" Street in Rogers,
AR) and Wal-Mart Pharmacy WHSE # 45 (located at 2250 North 8" Street, Suite 102-A
in Rogers, AR)—to just one buyer in Vernon County: Wal-Mart Pharmacy 10-0034, based
in Nevada, Missouri. On information and belief, Walmart is a top distributor of codeine,

fentanyl, oxycodone, oxymorphone, hydrocodone, hydromorphone, morphine, methadone

1181379, 1/81715.05012 34

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and buprenorphine in Vernon County. Walmart has engaged in consensual commercial
dealings in Vernon County, and has purposefully availed itself of the advantages of
conducting business with and within Vernon County. Walmart is in the chain of
distribution of prescription opioids. As reported by the Washington Post, there were
100,000 prescription opioid deaths between 2006 and 2012, during which time two-thirds
of the 76 billion opioid pain pills to flood the market were distributed by Walmart and just
a handful of other companies.!7 In 2016, Walmart expanded its long-term prescription
drug distribution agreement.'® Walmart’s total revenue exceeded $500 billion in 2018.

70. In 2017, Walmart acknowledged the need for “a solution to the [opioid]
epidemic” and noted the epidemic has “devastated so many families and communities
across America.” !® However, on information and belief, Walmart has also paid settlements
to resolve allegations of recordkeeping violations at pharmacies in various states and has
committed and continues to commit serious and flagrant violations regarding—inter alia—
its recordkeeping and other obligations under Missouri law in connection with its
distribution of opioids to Vernon County.

71. The Defendants AmerisourceBergen, Cardinal Health, Morris & Dickson,

Pharmalink, and Walmart are collectively referred to as the “Distributor Defendants.”

 

7 Scott Higham, 76 billion opioid pills: Newly released data unmasks the
epidemic, The Washington Post (July 16, 2019),
https://www.washingtonpost.com/investigations/76-billion-opioid-pills-newly-released-
federal-data-unmasks-the-epidemic/2019/07/16/5f29fd62-a73e-1 1e9-86dd-
d7f0e60391e9_story.html; see also Walmart, CVS, Walgreens Opioid Crisis Lawsuit,
VOX (July 23, 2019), https://www.vox.com/the-goods/2019/7/23/20707179/walmart-
cvs-walgreens-opioid-crisis-lawsuit-trial.

18 See Chain Drug Review, Extended Agreement Adds Sourcing of Generic Drugs
(May 16, 2016), https://corporate.walmart.com/newsroom/2016/05/16/mckesson-and-
walmart-announce-sourcing-agreement-for-generic-pharmaceuticals.

'9 Press Release, Walmart, Walmart Supports the State of Emergency Declaration
on Opioids (Oct. 26, 2017), https://news.walmart.com/2017/10/26/walmart-supports-
state-of-emergency-declaration-on-opioids.

1181379.1/81715.05012 35

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Manufacturers of opioids have transferred prescription opioids to the Distributor
Defendants for years. The Distributor Defendants dominate 85 to 90 percent of all
revenues from drug distribution in the United States, estimated to be at $378.4 billion in
2015. The Distributor Defendants supplied opioids to hospitals, pharmacies (including
their own retail stores), doctors and other healthcare providers, which then dispensed the
drugs to patients in Missouri, including in Vernon County. The Distributor Defendants
have had substantial contacts and business relationships with the citizens of Vernon
County. The Distributor Defendants have purposefully availed themselves of business
opportunities within Vernon County.

D. Pharmacy Defendant

1. Wal-Mart Pharmacy

72. Defendant Wal-Mart Stores East I, LP f/k/a Wal-Mart Stores East, LP d/b/a
Walmart #34 (“Wal-Mart Pharmacy”) is a Delaware limited partnership with its principal
place of business in Arkansas. On information and belief, at least one of Walmart’s
members is a citizen of Bentonville, Arkansas and, therefore, Walmart is a citizen of
Arkansas. Wal-Mart Pharmacy, located in Nevada, Missouri, has been and continues to be
visited by many Vernon County patients seeking to have their opioid prescriptions filled.
On information and belief, Wal-Mart Pharmacy is a top dispenser of prescription opioids
to Vernon County patients that has committed and continues to commit serious and flagrant
violations regarding—inter alia—its recordkeeping and other obligations under Missouri
law in connection with dispensing opioids in Missouri and specifically in Vernon County.
Wal-Mart Pharmacy has engaged in consensual commercial dealings in Vernon County
and has purposefully availed itself of the advantages of conducting business with and
within Vernon County.

73. The Defendant Wal-Mart Pharmacy is referred to as the “Pharmacy
Defendant.” For the remainder of this Petition, Walmart and Wal-Mart Pharmacy shall

collectively be referred to as “Walmart.”

1181379.1/81715.05012 36

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E. DOE Defendants

74. The true names and capacities, whether individual, plural, corporate,
partnership, associate, or otherwise, of DOES 1 through 1000, inclusive, are unknown to
Vernon County who therefore sues said Defendants by such fictitious names. The full
extent of the facts linking such fictitiously sued Defendants is unknown to Vernon County.
Vernon County is informed and believes and thereon alleges that each of the Defendants
designated herein as a DOE was, and is, negligently, recklessly, and/or intentionally
responsible for the events and happenings hereinafter referred to, and thereby negligently,
recklessly, and/or intentionally legally and proximately caused the hereinafter described
injuries and damages to Vernon County. Vernon County will hereafter seek leave of the
Court to amend this Petition to show the fictitiously sued Defendants’ true names and
capacities, after the same have been ascertained.

IW. JURISDICTION AND VENUE

75. This Court has subject matter jurisdiction by grant of authority under the
Constitution of the State of Missouri.

76. This Court has personal jurisdiction over Defendants. Plaintiffis a “resident”
of the State of Missouri. Defendants regularly transact business in the State of Missouri
and engage in tortious activities, including false and misleading advertising and unlawful,
unfair, and deceptive business practices, and create or assist in the creation of a public
nuisance in Missouri, including in Vernon County. Further, Defendants, individually,
through its agents and through its co-conspirators, have placed into the stream of commerce
addictive prescription opioids, with the knowledge that those products would be marketed,
distributed, and sold in the State of Missouri. Because Defendants have regularly
transacted business activities in Missouri; have purposefully directed business activities to
Missouri; and have engaged in unlawful practices and caused injury in Missouri; this Court
also has personal jurisdiction over Defendants under the United States Constitution. Each

Defendant has promoted, marketed, sold, and/or distributed prescription opioids in the

1181379. 1/81715.05012 37

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State of Missouri and Vernon County specifically or directed such promotion, marketing,
selling, and/or distribution to the State of Missouri and Vernon County specifically.

77. Venue is proper in the Circuit Court of St. Louis City. Defendant SpecGX
registers its address within this venue, located at 3600 North Second Street, St. Louis,
Missouri 63147. Pursuant to Mo. Rev. Stat. §508.010.6, Plaintiff may properly commence
and prosecute to a final judgment within the county in which a defendant resides. Further,
SpecGX conducts business and continues to conduct business in Vernon County.

78. Plaintiffs causes of action assert no federal question or statute, and therefore
do not arise under federal law. Plaintiff asserts only state law causes of action. Plaintiff
specifically denies any intent to state a cause of action arising under the laws of the United
States of America, including any claim for injunctive relief available under federal law.
IV. FACTUAL ALLEGATIONS

A. Background on Pain Medicine

79. The practice of medicine centers on informed risk management. Prescribers
must weigh the potential risks and benefits of each treatment option, as well as risk of non-
treatment. Accordingly, the safe and effective treatment of chronic pain requires that a
physician be able to weigh the relative risk of prescribing opioids against both (a) the
relative benefits that may be expected during the course of opioid treatment and (b) the
risks and benefits of alternatives.

80. | Opium has been recognized as a tool to relieve pain for millennia; so has the
magnitude of its potential for abuse, addiction, and its dangers. Opioids are related to
illegal drugs like opium and heroin. In fact, some types of fentanyl, a widely-distributed
opioid in the United States, have now been made illegal in China.

81. During the Civil War, opioids gained popularity among doctors and
pharmacists for their ability to reduce anxiety and relieve pain—particularly on the
battlefield—and they were popularly used in a wide variety of commercial products

ranging from pain elixirs to cough suppressants and beverages. By 1900, an estimated

1181379.1/81715.05012 38

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300,000 people were addicted to opioids in the United States. Both the number of opioid
addicts and the difficulty in weaning patients from opioids made clear their highly addictive
nature.

82. Due toconcerns about their addictive properties, opioids have been regulated
for decades. The labels for scheduled opioid drugs carry black box warnings of potential
addiction and “[s]erious, life-threatening, or fatal respiratory depression,” as the result of
an excessive dose.

83. Studies and articles from the 1970s and 1980s also made the reasons to avoid
opioids clear. Scientists observed poor outcomes from long-term opioid therapy in pain
management programs; opioids’ mixed record in reducing pain long-term and failure to
improve patients’ function; greater pain complaints as most patients developed tolerance
to opioids; opioid patients’ diminished ability to perform basic tasks; their inability to make
use of complementary treatments like physical therapy due to the side effects of opioids;
and addiction. Leading authorities discouraged, and even prohibited, the use of opioid
therapy for chronic pain.

84. Despite the fact that opioids are now routinely prescribed, there has never
been evidence of their safety and efficacy for long-term use. On the contrary, evidence
shows that opioid drugs are not effective to treat chronic pain and may worsen patients’
health. Increasing duration of opioid use is strongly associated with an increasing
prevalence of mental health conditions (depression, anxiety, post-traumatic stress disorder,
or substance abuse), increased psychological distress, and greater health care utilization.

85. Opioids are highly addictive. Patients using opioids for more than a few days
can experience severe withdrawal symptoms if they stop taking the drugs, including:
anxiety, insomnia, pain, blurry vision, rapid heartbeat, chills, panic attacks, nausea,
vomiting, and tremors. Withdrawal can last so long and be so painful that it is difficult to
stop taking opioids.

86. Putting patients on opioids puts them at risk. Patients who take opioids at

1181379.1/81715.05012 39

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higher doses and for longer periods face higher and higher risk of addiction and death.
Relative to the general population, the risk of opioid-death is 35-times higher for patients
receiving three consecutive months of opioid therapy. Each of the Defendants named in
this Petition disregarded the well-known and frightening statistics regarding opioid abuse
and chose to ignore them in the name of profits.

B. The Manufacturer Defendants’ Impact on the Perception and

Prescribing of Opioids

87. Before the Manufacturer Defendants began the marketing campaign
complained of herein, the generally accepted standards of medical practice dictated that
opioids should only be used short-term, for acute pain, or for patients nearing the end of
life. The Manufacturer Defendants changed this perception and took advantage of
addiction to make money. The Manufacturer Defendants’ marketing campaign resulted in
skyrocketing opioid prescriptions. The shocking increase in prescriptions has been a gold
mine for the Manufacturer Defendants. It has been a tragedy for patients and Vernon
County’s citizenry. Vernon County has lost citizens young and old to the opioid
epidemic—too many children in Vernon County have lost their parents and too many
parents have buried their children. Too many grandparents are raising their grandchildren.

88. Patients who survive addiction need lengthy, difficult, and expensive
treatment. People who are addicted to opioids are often unable to work. The addiction of
parents can force their children into foster care. Babies are born addicted to opioids, a
condition known as Neonatal Abstinence Syndrome (“NAS”), because they are exposed to
the drugs in the womb. Addiction in young adults in Missouri is also on the rise. In 2017,
the peak age group for heroin- and non-heroin-involved overdose deaths was 25 to 34

compared to 2011-2015, where the peak age group for overdose deaths was 45 to 54,20

 

20 Bureau of Vital Statistics, Missouri Department of Health and Senior Services,
2017 Missouri Resident Overdose Deaths, https://health.mo.gov/data/opioids/pdf/opioid-
dashboard-slide-10.pdf.

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Additionally, the Manufacturer Defendants’ misconduct has imposed heavy costs on
Missourians and the citizens of Vernon County at the tune of approximately $12.6 billion
dollars as of 2016.7!

C. The Manufacturer Defendants Engaged in a Deceptive Marketing

Scheme to Increase Profits

89. To profit from their highly addictive drugs, the Manufacturer Defendants
engaged in deadly and illegal practices to deceive doctors and patients. First, the
Manufacturer Defendants deceived Vernon County doctors and patients to get more people

on their highly addictive drugs. Second, the Manufacturer Defendants misled them to take

 

higher and more dangerous doses. Third, the Manufacturer Defendants deceived them to
stay on their drugs for longer and more harmful periods of time.

90. The Manufacturer Defendants targeted vulnerable people who could be
introduced to opioids, including elderly patients and people who had never taken opioids
before. The Manufacturer Defendants targeted these vulnerable patients even though the
risks of long-term opioid use were significantly greater for them. Existing evidence shows
that elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk
of hospitalization, and increased vulnerability to adverse drug effects and interactions.
Clinical guidelines for opioid therapy therefore conclude that there are “special risks of
long-term opioid use for elderly patients” and recommended that prescribers use
“additional caution and increased monitoring” to minimize the risks of opioid use in elderly
patients.

91. All the while, the Manufacturer Defendants peddled falsehoods to keep
patients away from safer alternatives. Even when the Manufacturer Defendants knew

people in Vernon County were addicted and dying, the Manufacturer Defendants treated

 

*1 Missouri Hospital Association, The Economic Cost of the Opioid Epidemic in
Missouri (January 2018), https://www.mhanet.com/mhaimages/HIDIHealthS tats/
Feb2018HealthStats Special OpioidsEconomy.pdf.

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doctors and patients as “targets” to sell more drugs.

92. Each part of the scheme earned the Manufacturer Defendants more money
from opioid sales and caused more addiction and death in Vernon County. And each
Manufacturer Defendant participated in and profited from the scheme in Vernon County,
as set forth below.

D. The Manufacturer Defendants Funneled Misrepresentations Through

Sales Representatives, Advertisements, and Third-Parties

93. Vernon County patients continue to visit emergency rooms and/or die after
taking the Manufacturer Defendants’ drugs because Vernon County was subject to the
Manufacturer Defendants’ massive deceptive sales campaign. The Manufacturer
Defendants deceptively marketed their branded opioids directly to healthcare providers and
patients in Vernon County. The Manufacturer Defendants also deployed sales
representatives to spread their false and misleading statements about the risks and benefits
of opioids for the treatment of long-term chronic pain throughout Missouri and,
specifically, in Vernon County.

94. These representatives were the Manufacturer Defendants’ most powerful
tools of deception by using them to conduct face to face meetings with Vernon County
healthcare providers and pharmacists in an effort to promote opioids. During these sales
visits, the Manufacturer Defendants’ representatives made false and misleading claims
directly to the professionals who care for Vernon County patients. The Manufacturer
Defendants assigned representatives to Vernon County and gave them lists of Vernon
County doctors to visit. The ‘scripts’ used by these representatives were approved and
closely monitored by Manufacturer Defendants.

95. Each of these visits cost the Manufacturer Defendants money. But the
Manufacturer Defendants made this money back many times over, because they convinced
doctors to prescribe their addictive drugs. The Manufacturer Defendants rewarded high

prescribing doctors with meals, money, and gifts. The Manufacturer Defendants’ sales

1181379.1/81715,05012 42

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representatives who generated the most prescriptions won bonuses and prizes. These
representatives have spread and continue to spread misinformation regarding the risks and
benefits of opioids to hundreds of thousands of doctors, and other healthcare providers,
including those in Vernon County.

96. The Manufacturer Defendants’ representatives have been reprimanded for
their deceptive promotions. A July 2010 “Dear Doctor” letter mandated by regulators
required Actavis to acknowledge to the doctors to whom it marketed its drugs that
“(bjetween June 2009 and February 2010, Actavis sales representatives
distributed...promotional materials that...omitted and minimized serious risks associated
with [Kadian],” including the risk of “[m]isuse, [a]buse, and [d]iversion of [o]pioids” and,
specifically, the risk that “[o]pioid[s] have the potential for being abused and are sought by
drug abusers and people with addiction disorders and are subject to criminal diversion.”

97. The Manufacturer Defendants also conducted and continue to conduct
advertising campaigns touting the purported benefits of their branded drugs. For example,
the Manufacturer Defendants spent more than $14 million on medical journal advertising
of opioids in 2011, nearly triple what they spent in 2001. This amount included $8.3
million by Purdue (which is not a defendant herein, but which engaged in the kind of
conduct that inspired and informed the conduct of other named manufacturer defendants),
$4.9 million by Janssen, and $1.1 million by Endo.

98. A number of the Manufacturer Defendants’ branded ads deceptively
portrayed the benefits of opioids for chronic pain. For example, since at least May 21,
2011, Endo has distributed and made available on its website, opana.com, a pamphlet
promoting Opana ER with photographs depicting patients with physically demanding jobs
like construction workers and chefs, misleadingly implying that the drug would provide
long-term pain-relief and functional improvement. Purdue (which is not a defendant
herein, but which engaged in the kind of conduct that inspired and informed the conduct

of other named manufacturer defendants) also ran a series of ads, called “Pain vignettes,”

1181379. 1/81715.05012 43

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for OxyContin in 2012 in medical journals. These ads featured chronic pain patients and
recommended OxyContin for each. One ad described a “54-year old writer with
osteoarthritis of the hands” and implied that OxyContin would help the writer work more
effectively. Endo and Purdue agreed in late 2015 and 2016 to halt these misleading
representations in New York, but they continue to disseminate them in Missouri.

99. Similarly, despite Subsys’ limited indication and the potent danger
associated with fentanyl, Insys falsely and misleadingly marketed Subsys to doctors as an
effective treatment for back pain, neck pain and other off-label breakthrough pain
conditions. As of June 2012, Insys defined “breakthrough pain” in cancer patients to
include mild pain: a “flare of mild-to-severe pain in patients with otherwise stable
persistent pain,” based on a misleading citation to a paper written by Dr. Russell
Portenoy.” Insys trained and instructed its sales representatives to use the false definition
of breakthrough pain and specifically to use a core visual aid, including the improper
definition, whenever they detailed Subsys to a healthcare provider or provider’s office.

100. According to a 2014 article in The New York Times, only 1% of prescriptions
for Subsys were written by oncologists. Approximately half the prescriptions were written
by pain specialists, with others, including dentists and podiatrists, writing prescriptions as
well.”

101. On September 6, 2017, Senator Claire McCaskill’s report, “Fueling an

Epidemic: Insys Therapeutics and the System Manipulation of Prior Authorization” was

 

*2 Portenoy’s paper, which was featured in the 1990 issue of Pain, actually defined
breakthrough pain as “a transitory increase in pain to greater than moderate intensity—.e.,
to an intensity of ‘severe’ or ‘excruciating’) . . . on a baseline pain of moderate intensity or
less.” Russell K. Portenoy & Neil A. Hagen, Breakthrough pain: Definition, prevalence
and characteristics, 41(3) Pain 273-81 (July 1990).

23 Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong

Painkiller, N.Y. TIMES (May 13, 2014), https://www.nytimes.com/2014/05/14/business/
doubts-raised-about-off-label-use-of-subsys-a-strong-painkiller.html.

1181379. 1/81715.05012 44

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published. The report found that Insys manipulated the prior authorization process 4 by
misleading pharmacy benefit managers about the role of Insys in the prior authorization
process and the presence of breakthrough cancer pain in potential Subsys patients.”

102. On September 12, 2017, Senator McCaskill convened a Roundtable

Discussion on Opioid Marketing. During the hearing, Senator McCaskill stated:

“The opioid epidemic is the direct result of a calculated marketing and sales
strategy developed in the 90’s, which delivered three simple messages to
physicians. First, that chronic pain was severely undertreated in the United
States. Second, that opioids were the best tool to address that pain. And
third, that opioids could treat pain without risk of serious addiction. As it
turns out these messages were exaggerations at best and outright lies at
worst.

* XK *

Our national opioid epidemic is complex, but one explanation for this crisis
is simple, pure greed.” *°

103. Less than two years later, Insys’ former chief executive officer pleaded guilty
to participating in a nationwide scheme to bribe doctors in exchange for prescribing
Subsys.?’

104. The Manufacturer Defendants”® also identified doctors to serve, for payment,

 

4 Prior authorization (PA) is any process by which physicians and other health care
providers must obtain advance approval from a health plan before a specific procedure,
service, device, supply or medication is delivered to the patient to qualify for payment
coverage. (American Medical Association, Prior authorization: The current landscape, p.
1 (2015), https://www.ama-assn.org/sites/ama-assn.org/files/corp/media-
browser/premium/psa/prior-authorization-toolkit_0.pdf.

25 HSGAC Minority Staff Report, Insys Therapeutics and the Systemic
Manipulation of Prior Authorization (2017).

26 See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable,
September 12, 2017, at 31:03-31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo
(last accessed Mar. 17, 2019).

27 Nate Raymon, Former Insys CEO pleads guilty to opioid kickback scheme,
REUTERS (Jan. 9, 2019), https://www.reuters.com/article/us-insys-opioids/former-insys-
ceo-pleads-guilty-to-opioid-kickback-scheme-idUSKCN1P312L.

28 Upon information and belief, Actavis continued to carry out speaker programs

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on their speakers’ bureaus and to attend programs with speakers and meals paid for by the
Manufacturer Defendants. These speaker programs provided: (1) an incentive for doctors
to prescribe a particular opioid (so they might be selected to promote the drug); (2)
recognition and compensation for the doctors selected as speakers; and (3) an opportunity
to promote the drug through the speaker to his or her peers. These speakers give the false
impression that they are providing unbiased and medically accurate presentations when
they are, in fact, presenting a script prepared by the Manufacturer Defendants. On
information and belief, these presentations conveyed misleading information, omitted
material information, and failed to correct the Manufacturer Defendants’ prior
misrepresentations about the risks and benefits of opioids.

105. Each Manufacturer Defendant devoted and continues to devote massive
resources to direct sales contacts (“detailing”) with doctors. In 2014 alone, the
Manufacturer Defendants spent $168 million on detailing branded opioids to doctors. This
amount is twice as much as the Manufacturer Defendants spent on detailing in 2000. The
amount includes $34 million by Janssen, $10 million by Endo, and $2 million by Actavis.

106. The Manufacturer Defendants also deceptively marketed opioids in Missouri
through unbranded advertising—i.e., advertising that promotes opioid use generally but
does not name a specific opioid. This advertising was ostensibly created and disseminated
by independent third parties. But by funding, directing, reviewing, editing, and distributing
this unbranded advertising, the Manufacturer Defendants controlled the deceptive
messages disseminated by these third parties and acted in concert with them to falsely and
misleadingly promote opioids for the treatment of chronic pain.””

107. The Manufacturer Defendants marketed through third-party, unbranded

 

after it acquired Kadian.

29 The phrase “acted in concert” includes conspiring to achieve some end and aiding
and abetting in the commission of acts necessary to achieve some end.

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advertising to avoid regulatory scrutiny because that advertising is not submitted to and
typically is not reviewed by regulators. The Manufacturer Defendants also used third-
party, unbranded advertising to give the false appearance that the deceptive messages came
from an independent and objective source. Like tobacco companies, the Manufacturer
Defendants used third parties that they funded, directed, and controlled to carry out and
conceal their scheme to deceive doctors and patients about the risks and benefits of long-
term opioid use for chronic pain.

108. The Manufacturer Defendants’ deceptive unbranded marketing often
contradicted what they said in their branded materials reviewed by regulators. For
example, Endo’s unbranded advertising contradicted its concurrent, branded advertising

for Opana ER:

 

Pain: Opioid Therapy Opana ER Advertisement
(Unbranded) (Branded)

“All patients treated with
opioids require careful
monitoring for signs of abuse

 

“People who take opioids as and addiction, since use of
prescribed usually do not opioid analgesic products
become addicted.” carries the risk of addiction

even under appropriate
medical use.”

 

 

 

 

109. The Manufacturer Defendants also spoke through a small circle of doctors
who, upon information and belief, were selected, funded, and elevated by the Manufacturer
Defendants because their public positions supported the use of opioids to treat chronic pain.
These doctors became known as “key opinion leaders” or “KOLs.” The Manufacturer
Defendants paid these KOLs to serve as consultants or on their advisory boards and to give
talks or present continuing medical education programs (“CMEs”), and their support
helped these KOLs become respected industry experts. As they rose to prominence, these

KOLs touted the benefits of opioids to treat chronic pain, repaying the Manufacturer

1181379.1/81715.05012 47

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Defendants by advancing their marketing goals. KOLs’ professional reputations became
dependent on continuing to promote a pro-opioid message, even in activities that were not
directly funded by the Manufacturer Defendants.

110. Pro-opioid doctors are one of the most important avenues that the
Manufacturer Defendants use to spread their false and misleading statements about the
risks and benefits of long-term opioid use for chronic pain. The Manufacturer Defendants
know that doctors rely heavily and more uncritically on their peers for guidance, and KOLs
provide the false appearance of unbiased and reliable support for chronic opioid therapy.
For example, the New York Attorney General (“NY AG”) found in its settlement with
Purdue, which is owned and controlled by the Sackler family (neither of which/whom are
defendants in this case, but which engaged in the kind of conduct that inspired and informed
the conduct of other named manufacturer defendants), that through March 2015, the Purdue
website, “In the Face of Pain,” failed to disclose that doctors who provided testimonials on
the site were paid by Purdue and concluded that Purdue’s failure to disclose these financial
connections potentially misled consumers regarding the objectivity of the testimonials.
KOLs have written, consulted on, edited, and lent their names to books and articles, and
have given speeches and CMEs supportive of chronic opioid therapy. The Manufacturer
Defendants created opportunities for KOLs to participate in research studies Defendants
suggested or chose and then cited and promoted favorable studies or articles by their KOLs.
By contrast, the Manufacturer Defendants did not support, acknowledge, or disseminate
publications of doctors unsupportive or critical of chronic opioid therapy.

111. The Manufacturer Defendants’ KOLs also served on committees that
developed treatment guidelines that strongly encourage the use of opioids to treat chronic
pain and on the boards of pro-opioid advocacy groups and professional societies that
develop, select, and present CMEs. These guidelines and CMEs were not supported by the
scientific evidence at the time they were created, and they are not supported by the

scientific evidence today. The Manufacturer Defendants were able to direct and exert

1181379.1/81715.05012 48

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control over each of these activities through their KOLs. The medical community at large
as well as several regulatory agencies and government entities confirm and recognize that
treatment guidelines can “change prescribing practices.”

112. The Manufacturer Defendants also entered into arrangements with seemingly
unbiased and independent patient and professional organizations to promote opioids for the
treatment of chronic pain. Under the direction and control of Defendants, these “Front
Groups”—which include, but are not limited to, the American Pain Foundation (“APF”)
and the American Academy of Pain Medicine—generated treatment guidelines, unbranded
materials, and programs that favored chronic opioid therapy. These guidelines, materials,
and programs were not supported by the evidence at the time they were created, and they
are not supported by the scientific evidence today. These Front Groups also assisted the
Manufacturer Defendants by responding to negative articles, by advocating against
regulatory changes that would limit opioid prescribing in accordance with the scientific
evidence, and by conducting outreach to vulnerable patient populations targeted by the
Manufacturer Defendants.

113. These Front Groups depended on the Manufacturer Defendants for funding
and, in some cases, for survival. Defendants also exercised control over programs and
materials created by these groups by collaborating on, editing, and approving their content,
and by funding their dissemination. Despite this, the Front Groups held themselves out as
independent and serving the needs of their members—whether patients were suffering from
pain or doctors were treating those patients.

114. The Manufacturer Defendants worked together, through Front Groups, to
spread their deceptive messages about the risks and benefits of long-term opioid therapy.
For example, the Manufacturer Defendants combined their efforts through the Pain Care
Forum (“PCF”), which began in 2004 as an APF project. PCF is comprised of
representatives from opioid manufacturers (including Endo, Janssen/J&J, and Purdue) and

various Front Groups, almost all of which received substantial funding from the

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Manufacturer Defendants. Among other projects, PCF worked to ensure that legally
mandated educational projects on opioids were not unacceptably negative and did not
require mandatory participation by prescribers, which the Manufacturer Defendants
determined would reduce prescribing. PCF also worked to address a perceived “lack of
coordination” among its members and developed “key” messages that were disseminated
in programs and industry-run websites.
E. The Manufacturer Defendants Deceived Healthcare Providers and
Patients to Get More People on Highly Addictive Drugs, at Higher
Doses, for Longer Periods
115. To convince prescribers and patients around the country, including in
Missouri, that opioids can and should be used to treat chronic pain, the Manufacturer
Defendants had to convince them that long-term opioid use is both safe and beneficial. The
Manufacturer Defendants deceived those doctors and patients about the risks and benefits
of long-term opioid use. The Manufacturer Defendants, through Front Groups, KOLS, and
advertisements, made claims that were not supported by or were contrary to the scientific
evidence—most frequently, these claims downplayed the risks of addiction in order to
convince patients and doctors alike that prescription opioids should be used more regularly.
Even though pronouncements by and guidance from regulators based on that evidence
confirm that their claims were false and misleading, Vernon County is informed and
believes that the Manufacturer Defendants have not corrected them and continue to spread
them today, including as set forth specifically below.
1. Deception About Addiction
116. The Manufacturer Defendants always knew that their opioids carry grave
risks of addiction and death. Instead of being honest about these risks, the Manufacturer
Defendants obscured them, including by falsely stating and implying that “appropriate
patients” won’t get addicted. To convince doctors and patients that opioids are safe, the

Manufacturer Defendants deceptively trivialized and failed to disclose the risks of long-

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term opioid use, particularly the risk of addiction, through a series of misrepresentations

that have been conclusively debunked by regulators and the medical community at large.

117. First, the Manufacturer Defendants falsely claimed that the risk of addiction

is low and that addiction is unlikely to develop when opioids are prescribed, as opposed to

obtained illicitly; and failed to disclose the greater risk of addiction with prolonged use of

opioids. Some illustrative examples of these false and misleading claims that were made

by, are continuing to be made by, and/or have not been corrected by the Manufacturer

Defendants after May 21, 2011, are described below:

a.

Actavis’ predecessor caused a patient education brochure to be
distributed in 2007 that claimed opioid addiction is possible, but “less
likely if you have never had an addiction problem.” Upon information
and belief, based on Actavis’ acquisition of its predecessor’s marketing
materials along with the rights to Kadian, Actavis continued to use this
brochure in 2009 and beyond.

Purdue, which is owned and controlled by the Sacklers (neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants), and Cephalon sponsored APF’s Treatment
Options: A Guide for People Living with Pain (2007), which instructed
that addiction is rare and limited to extreme cases of unauthorized dose
escalations, obtaining duplicative opioid prescriptions from multiple
sources, or theft.

Endo sponsored a website, Painknowledge.com, which claimed in 2009
that “[p]eople who take opioids as prescribed usually do not become
addicted.” Another Endo website, PainAction.com, stated “Did you
know? Most chronic pain patients do not become addicted to the opioid
medications that are prescribed for them.”

Endo and Cephalon distributed a pamphlet with the Endo logo entitled
Living with Someone with Chronic Pain, which stated that: “Most health
care providers who treat people with pain agree that most people do not
develop an addiction problem.” A similar statement appeared on the
Endo website www.opana.com.

Janssen/J&J reviewed, edited, approved, and distributed a patient
education guide entitled Finding Relief? Pain Management for Older
Adults (2009), which described as “myth” the claim that opioids are

1181379.1/81715.05012 51

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addictive, and asserted as fact that “[m]any studies show that opioids are
rarely addictive when used properly for the management of chronic pain.”

f. Janssen ran a website, Prescriberesponsibly.com (last updated July 2,
2015), which claims that concerns about opioid addiction are
“overestimated.”

g. Purdue, which is owned and controlled by the Sacklers (neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants), sponsored APF’s A Policymaker’s Guide to
Understanding Pain & Its Management—which claims that less than 1%
of children prescribed opioids will become addicted and that pain is
undertreated due to “misconceptions about opioid addiction|].”

h. Detailers for Endo, Teva, Janssen, and Purdue in Missouri have
minimized or omitted and continue to minimize or omit any discussion
with prescribing clinicians or their medical staff in Missouri
communities, including Vernon County, about the risk of addiction;
falsely claiming that abuse-deterrent formulations “cannot be crushed,”
downplaying the potential that these opioids could be abused; and
routinely did not correct the misrepresentations noted above.

118. Moreover, Purdue, in a pamphlet for doctors, Providing Relief; Preventing
Abuse: A Reference Guide to Controlled Substance Prescribing Practices, wrote that
addiction “is not caused by drugs.” Instead, Purdue, which is owned and controlled by the
Sacklers (neither of which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named manufacturer
defendants), assured doctors that addiction happens when the wrong patients get drugs and
abuse them: “it is triggered in a susceptible individual by exposure to drugs, most
2930

commonly through abuse.

119. Purdue, which is owned and controlled by the Sacklers (neither of

 

30 Purdue Pharma LP, Providing Relief, Preventing Abuse (2008), pg. 12; see also
K. Nelson, Purdue Pharma lawsuit: Terms you need to know to understand OxyContin
blitz, Knox News (July 13, 2018), https://www.knoxnews.com/story/news/health/
2018/07/1 3/purdue-pharma-lawsuit-terms-know-understand-oxycontin-blitz/ 779173002/.

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which/whom are defendants in this case, but which engaged in the kind of conduct that
inspired and informed the conduct of other named manufacturer defendants), also
promoted its opioids to Vernon County patients with marketing that was designed to
obscure the risk of addiction and even the fact that Purdue was behind the campaign.
Purdue created a website, In the Face of Pain, that promoted pain treatment by urging
patients to “overcome” their “concerns about addiction.” Testimonials on the website that
were presented as personal stories were in fact by Purdue consultants, whom Purdue had
paid tens of thousands of dollars to promote its drugs.?!

120. Another publication from Purdue—which is owned and controlled by the
Sacklers—was the Resource Guide for People with Pain, which falsely assured patients
and doctors that opioid medications are not addictive:

“Many people living with pain and even some healthcare providers
believe that opioid medications are addictive. The truth is that

when properly prescribed by a healthcare professional and taken

as directed, these medications give relief—not a ‘high’.’”**

121. Purdue, which is owned and controlled by the Sacklers, falsely denied the
risk of addiction, falsely implied that addiction requires patients to get “high,” and falsely
promised that patients would not get addicted if they took opioids as prescribed.

122. Purdue (which is not a defendant in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named manufacturer
defendants) funded and distributed many more publications that were similarly misleading.
Exit Wounds misleadingly claimed: “Long experience with opioids shows that people who

are not predisposed to addiction are unlikely to become addicted to opioid pain

 

3! Purdue Pharma LP, Jn the Face of Pain (Oct. 24, 2011).

32 Purdue Pharma LP, Resource Guide for People with Pain, p. 8 (2009).

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medications.”*?

123. Similarly, while Janssen/J&J repeatedly disclaimed responsibility for its part
in causing the opioid crisis, insisting that “[e]verything that we have done with our products
when we’ve promoted opioid products...was appropriate and responsible,” internal
memoranda and communications between high-level executives at Janssen show the
company funded and pushed bogus research to lend false credibility to a series of
dangerous fictions, claiming that “[m]any studies show that opioids are rarely addictive
when used properly for the management of chronic pain,” and enabling “Janssen’s
representatives [to] promote[] Nucynta and Nucynta ER as safer, milder, and less addictive
than competitor opioids like OxyContin.”**

124. In 2017, Mallinckrodt agreed to settle for $35 million, allegations regarding
excessive sales of oxycodone in Florida. According to these allegations, even though
Mallinckrodt knew that its oxycodone was being diverted for illicit use, it nonetheless
continued to incentivize and supply these suspicious sales, and it failed to notify regulators
of the suspicious orders in violation of Mallinckrodt’s legal obligations. Similarly, in 2008,
Cephalon pleaded guilty to criminal violations for its misleading promotion of Actiq and
two other drugs and agreed to pay $425 million.

125. In August 2019, Johnson & Johnson was found liable of: (a) having engaged
in false and misleading marketing of both their drugs and opioids more generally; and (b)
creating, contributing to, and perpetuating a public nuisance under Oklahoma law. This
determination resulted in a $572 million verdict that represents just one year of abatement

expenses in one state.

 

33 Purdue Pharma LP, Exit Wounds, p. 107 (2009).

34M. Aron, Deceptively Marketing Opioids, NJTV News (Nov. 13, 2018),
https://www.njtvonline.org/news/video/state-sues-johnson-johnson-subsidiary-for-
deceptively-marketing-opioids/.

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126. Over and over, Defendants said opioids could be given to “trusted” patients
without risk of addiction. To promote their drugs, the Manufacturer Defendants pushed
the myth that addiction is a character flaw, and “trustworthy” people do not get addicted to
drugs.

127. These claims are contrary to longstanding scientific evidence and recently
established clinical guidelines for opioid therapy. These guidelines provide that there is
“extensive evidence” of the “possible harms of opioids (including opioid use disorder [an
alternative term for opioid addiction]).” The guidelines indicate that “[o]pioid pain
medication use presents serious risks, including...opioid use disorder” and that “continuing
opioid therapy for 3 months substantially increases risk for opioid use disorder.”

128. The falsity of the Manufacturer Defendants’ claims about the low risk of
addiction was further exposed when regulators announced changes to the labels for ER/LA
opioids in 2013 and for IR opioids in 2016. These announcements emphasized that “most
opioid drugs have ‘high potential for abuse’” and that opioids “are associated with a
substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome],
addiction, overdose, and death.” Thus, because of the “known serious risks” associated
with long-term opioid use, including “risks of addiction, abuse, and misuse, even at
recommended doses, and because of the greater risks of overdose and death,” opioids
should be used only “in patients for whom alternative treatment options” like non-opioid
drugs have failed. These regulators further acknowledged that the risk is not limited to
patients who seek drugs illicitly; addiction “can occur in patients appropriately prescribed
[opioids].”

129. The New York Attorney General, in a 2016 settlement agreement with Endo,
found that opioid “use disorders appear to be highly prevalent in chronic pain patients
treated with opioids, with up to 40% of chronic pain patients treated in specialty and
primary care outpatient centers meeting the clinical criteria for an opioid use disorder.”

Endo had claimed until at least April 2012 on its www.opana.com website that “[mJost

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healthcare providers who treat patients with pain agree that patients treated with prolonged
opioid medicines usually do not become addicted,” but the NY AG found that Endo had
no evidence for that statement. Consistent with this, Endo agreed not to “make statements
that...opioids generally are non-addictive” or “that most patients who take opioids do not
become addicted” in New York. On information and belief, Endo made similar
representations to healthcare providers and patients in and around Vernon County,
Missouri. However, Endo has not yet been restricted from making these statements in
Missouri.
2. Deception to Get Vulnerable Patients on Opioids

130. To expand the market for opioids, the Manufacturer Defendants also trained
their representatives to target vulnerable populations and encourage doctors to put them on
opioids, without disclosing the risks. The Manufacturer Defendants deceptively promoted
opioids for elderly patients, patients who had never taken opioids, and patients with
osteoarthritis—putting thousands of more patients at risk.

Elderly Patients

131. The Manufacturer Defendants knew that prescribing opioids to elderly
patients increase their risk of death. Elderly patients are at a greater risk of dangerous
interactions between drugs. They are also at a greater risk of respiratory depression—in
which patients suffocate and die. But the Manufacturer Defendants saw the opportunity to
earn millions of dollars by getting elderly patients on opioids because the public would pay
through Medicare. For instance, Purdue’s (not a defendant herein) internal documents

show it targeted “Patients over the age of 65 as more...coverage is achieved.”*°

Opioid-Naive Patients
132. The Manufacturer Defendants also targeted patients who were not already

taking opioids, described in the field as “opioid-naive.” The Manufacturer Defendants

 

35 Purdue Pharma LP, Pain Products Presentation, p. 12 (Jan. 28, 2015).

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unfairly and deceptively marketed their drugs as appropriate treatments for opioid-naive

patients, without disclosing that they face even higher risks of overdose and death.

 

 

CLOSE #1
Opicid-naive (§ meg/hour):

* “Doctor, either today or tomorrow, do you anticipate seeing this commercially
insured, opigid-naive patient with moderate to severe chronic pain, who you believe
would benefit from Butrans?

 

 

Purdue sales script from 2011

133. For instance, Purdue trained its sales reps to promote their drugs specifically

for opioid-naive patients. In training calls, Purdue managers instructed:

“Your opportunity here is with the naive community, let’s use the naive trial to
make the case.”’

“You created an epiphany with the doctor today (potentially) by reviewing the
opiate naive patient profile. What made him more apt to write this for his
patient, being an amiable doctor, is the fact that he would not have to talk
patients out of their short-acting [opioids ].”

“This was an example of what a good call looks like... [Dr.] was particularly
interested in the RM case study of Marjorie, which generated a robust discussion
of opioid naive patients...”

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134. Purdue (not a defendant herein, but which engaged in the kind of conduct
that inspired and informed the conduct of other named manufacturer defendants) promoted
its drugs for opioid-naive patients using the deceptive term “first line opioid.” “First line”
is a medical term for the preferred first step in treating a patient. Opioids are not an

appropriate first line therapy.

 

Do You Have Patients Like Pam*?

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Current therapy:

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Purdue opioid promotion from 2015?

135. The Manufacturer Defendants also found vulnerable opioid-naive patients by
targeting prescribers with the least training in the risks of opioids. The Manufacturer
Defendants determined that nurse practitioners, physician assistants, and primary care
doctors were especially responsive to sales reps, so the Manufacturer Defendants targeted
them to sell more drugs.

Osteoarthritis Patients

136. The Manufacturer Defendants knew or should have known that opioids were
not appropriate to treat nonmalignant pain in non-cancer patients, including patients
suffering from osteoarthritis. Opioids are not approved to treat osteoarthritis. For instance,

Purdue conducted a single study on osteoarthritis for Butrans, and it failed. Purdue

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admitted in internal documents that its opioids “are not indicated for a specific disease”
and “it is very important that you never suggest to your HCP [health care professional] that
OxyContin is indicated for the treatment of a specific disease state such as Rheumatoid
Arthritis or Osteoarthritis.”

137. Nevertheless, to meet their business goals, the Manufacturer Defendants
trained their sales representatives to mislead healthcare providers and patients by
promoting opioids for osteoarthritis.

138. The Manufacturer Defendants also directed their sales reps to use marketing
materials that highlight patients with osteoarthritis, even though their drugs were never
indicated for that disease.

3. The Manufacturer Defendants Deceived Doctors and Patients to
Use Higher and Higher Doses

139. The impetus behind the Manufacturer Defendants’ scheme is as simple as it
is nefarious. Enticed by the exponentially greater profits that would result from increases
in opioid dose mix, the Manufacturer Defendants deceived prescribing medical
practitioners and patients across the nation—and in Vernon County—about the risks and
benefits of opioids for the long-term treatment of chronic pain. The Manufacturer
Defendants dishonestly encouraged these prescribers to provide long-term opioid therapy
to patients for whom such treatment was inappropriate, such as patients suffering from
long-term chronic pain due to osteoarthritis. As set forth below, the Manufacturer
Defendants’ deceptive scheme was wildly successful, increasing the supply of highly
addictive prescription opioids, both in the State of Missouri generally and in Vernon
County, specifically.

140. The Manufacturer Defendants—including, but not limited to, Defendant
Endo—also falsely instructed healthcare providers and patients in Missouri communities,
including Vernon County, that the signs of addiction are actually signs of undertreated pain

and should be treated by prescribing more opioids. Defendants called this phenomenon

1181379.1/81715.05012 59

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“pseudoaddiction”—a made-up, misleading and scientifically unsubstantiated term coined
by Dr. David Haddox, who went to work for Purdue, and popularized by Dr. Russell
Portenoy, a KOL for Endo, Janssen, Teva, and Purdue. Through aggressive marketing
campaigns to Vernon County prescribers and patients, the Manufacturer Defendants used
the concept of “pseudoaddiction” as a lever to mislead prescribers and their patients into
believing that certain warning signs of opioid addiction *° were neither indicative of “true”
addiction nor cause for alarm. To the contrary, the Manufacturer Defendants repeatedly
claimed these warning signs were manifestations of undertreated pain, which should be
addressed by prescribing more opioids. Importantly, at all times relevant to this action, the
Manufacturer Defendants both knew the concept of “pseudoaddiction” was false and yet
actively sought to conceal the truth from healthcare providers and patients in Missouri and
in Vernon County, sabotaging these providers’ ability to protect their patients from opioid
addiction and concomitant injuries and make informed decisions about whether or not
opioids were appropriate for their patients. Some illustrative examples of these deceptive
claims that were made by, are continuing to be made by, and/or have not been corrected by
the Manufacturer Defendants are described below:

a. Cephalon, Endo, and Purdue—which is owned and controlled by the
Sacklers—sponsored Responsible Opioid Prescribing (2007), which
taught that behaviors such as “requesting drugs by name”, “demanding
or manipulative behavior,” seeing more than one doctor to obtain opioids,
and hoarding, are all signs of pseudoaddiction, rather than true addiction.
Responsible Opioid Prescribing remains for sale online.

b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which
in 2009 stated: “pseudoaddiction...refers to patient behaviors that may
occur when pain is under-treated...Pseudoaddiction is different from true
addiction because such behaviors can be resolved with effective pain
management.”

 

36 Fg., demanding more opioids, engaging in manipulative behavior to obtain drugs,
requesting specific drugs, hoarding drugs during periods of reduced symptoms, using drugs
to treat another symptom, etc.

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c. Endo sponsored a National Initiative on Pain Control (NIPC) CME
program in 2009 titled Chronic Opioid Therapy: Understanding Risk
While Maximizing Analgesia, which promoted pseudoaddiction by
teaching that a patient’s aberrant behavior was the result of untreated
pain. Endo substantially controlled NIPC by funding NIPC projects;
developing, specifying, and reviewing content; and distributing NIPC
materials.

d. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants, published a pamphlet in 2011 entitled
Providing Relief, Preventing Abuse, which described pseudoaddiction as
a concept that “emerged in the literature” to describe the inaccurate
interpretation of [drug-seeking behaviors] in patients who have pain that
has not been effectively treated.”

e. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants, sponsored a CME program entitled “Path of the
Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse” in
2011. Inarole play exercise, a chronic pain patient with a history of drug
abuse tells his doctor that he is taking twice as many hydrocodone pills
as directed. The narrator notes that because of pseudoaddiction, the
doctor should not assume the patient is addicted even if he persistently
asks for a specific drug, seems desperate, hoards medicine, or
“overindulges in unapproved escalating doses.” The doctor treats this
patient by prescribing a high-dose, long-acting opioid.

f. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants, and Cephalon sponsored APF’s Treatment
Options: A Guide for People Living with Pain (2007), which states:
“Pgeudo-addiction describes patient behaviors that may occur when pain
is undertreated...Pseudo-addiction can be distinguished from true
addiction in that this behavior ceases when pain is effectively treated.”

141. The medical community now rejects the concept of pseudoaddiction and
does not recommend that opioid dosages be increased if a patient is not experiencing pain

relief. To the contrary, widely accepted opioid treatment guidelines now provide that

1181379.1/81715.05012 61

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“[p]atients who do not experience clinically meaningful pain relief early in treatment...are
unlikely to experience pain relief with longer-term use,” and that physicians should
“reassess[] pain and function within 1 month” in order to decide whether to “minimize
risks of long-term opioid use by discontinuing opioids” because the patient is “not
receiving a clear benefit.”

142. Even one of the Manufacturer Defendants has effectively repudiated the
concept of pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been
empirically validated and in fact has been abandoned by some of its proponents,” the NY
AG, in its 2016 settlement with Endo, reported that “Endo’s Vice President for
Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware
of any research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty
in distinguishing “between addiction and ‘pseudoaddiction.””*’ Consistent with this
testimony, Endo agreed not to “use the term ‘pseudoaddiction’ in any training or
marketing” in New York.*®

143. The Manufacturer Defendants also falsely promised prescribers and their
patients that addiction risk screening tools, patient contracts, urine drug screens, and
similar strategies would both allow these prescribers to reliably identify and safely
prescribe opioids to patients who are predisposed to addiction and be efficacious enough
to essentially rule out the risk of opioid addiction (even in the context of long-term opioid
therapy). These misrepresentations were especially insidious because the Manufacturer
Defendants aimed them at general practitioners and family doctors who lack the time and

expertise to closely manage higher-risk patients on opioids. The Manufacturer Defendants’

 

37 Tn the Matter of Endo Health Solutions Inc., ef al., Assurance No. 15-228, p. 7, J
23 (NY AG, Mar. 1, 2016), https://www.ag.ny.gov/pdfs/ENDO_AOD_030116-Fully _
Executed.pdf

38 Td, p. 15, 9 41.e.

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misrepresentations made these doctors feel more comfortable prescribing opioids to their
patients, and patients more comfortable starting on opioid therapy for chronic pain. Some
illustrative examples of these deceptive claims that were made by, are continuing to be
made by, and/or have not been corrected by the Manufacturer Defendants after March 21,
2011 are described below:

a. Endo paid for a 2007 supplement in the Journal of Family Practice written
by a doctor who became a member of Endo’s speakers bureau in 2010.
The supplement, entitled Pain Management Dilemmas in Primary Care:
Use of Opioids, emphasized the effectiveness of screening tools, claiming
that patients at high risk of addiction could safely receive chronic opioid
therapy using a “maximally structured approach” involving toxicology
screens and pill counts.

b. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind
of conduct that inspired and informed the conduct of other named
manufacturer defendants, sponsored a November 2011 webinar,
Managing Patient’s Opioid Use: Balancing the Need and Risk, which
claimed that screening tools, urine tests, and patient agreements prevent
“overuse of prescriptions” and “overdose deaths.”

c. As recently as 2015, Purdue, which is owned and controlled by the
Sacklers, neither of which/whom are defendants in this case, but which
engaged in the kind of conduct that inspired and informed the conduct of
other named manufacturer defendants, has represented in scientific
conferences that “bad apple” patients—and not opioids—are the source
of the addiction crisis and that once those “bad apples” are identified,
doctors can safely prescribe opioids without causing addiction.

144. Consistent with what the Manufacturer Defendants already knew—but failed
to disclose—at all times relevant to this action, opioid treatment guidelines now confirm
that the Manufacturer Defendants’ statements were false, misleading, and unsupported at
the time they were made by the Manufacturer Defendants. These guidelines note that there
are no studies assessing the effectiveness of risk mitigation strategies—such as screening
tools, patient contracts, urine drug testing, or pill counts widely believed by doctors to

detect and deter abuse—“for improving outcomes related to overdose, addiction, abuse, or

1181379.1/81715.05012 63

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misuse.” As a result, opioid treatment guidelines now recognize that available risk
screening tools “show insufficient accuracy for classification of patients as at low or high
risk for [opioid] abuse or misuse” and counsels that prescribers “should not overestimate
the ability of these tools to rule out risks from long-term opioid therapy.” (Emphasis
added.)
4. The Manufacturer Defendants Peddled Falsehoods to Keep
Patients Away from Safer Alternatives
A. Deception about Quality of Life
145. The Manufacturer Defendants also steered patients away from safer
alternatives with the false claim that its opioids improve patients’ “quality of life.”
B. Deception about Risk of Abuse
146. In addition to visiting prescribers and pharmacists hundreds of thousands of
times, the Manufacturer Defendants distributed thousands of copies of its deceptive
publications, including Providing Relief, Preventing Abuse, Resource Guide for People
with Pain; Exit Wounds; Opioid Prescribing: Clinical Tools and Risk Management
Strategies; Responsible Opioid Prescribing; Clinical Issues in Opioid Prescribing; and Jn
The Face of Pain.
5. The Manufacturer Defendants Downplayed Opioids Withdrawal
147. To downplay the risk and impact of addiction and make doctors feel more
comfortable starting patients on opioids, the Manufacturer Defendants falsely claimed that
opioid dependence can easily be addressed by tapering and that opioid withdrawal is not a
problem and failed to disclose the increased difficulty of stopping opioids after long-term
use. For example, a 2011 non-credit educational program sponsored by Endo, entitled
“Persistent Pain in the Older Adult,” claimed that withdrawal symptoms can be avoided by
tapering a patient’s opioid dose by 10%-20% for 10 days. Purdue, which is owned and
controlled by the Sacklers, neither of which/whom are defendants in this case, but which

engaged in the kind of conduct that inspired and informed the conduct of other named

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manufacturer defendants, sponsored APF’s 4 Policymaker’s Guide to Understanding Pain
& Its Management, which claimed that “[s]ymptoms of physical dependence can often be
ameliorated by gradually decreasing the dose of medication during discontinuation”
without mentioning any hardships that might occur. This publication was available on
APF’s website until the organization dissolved in May 2012. Detailers for Janssen have
told and continue to tell healthcare providers across the country, including in Missouri and
Vernon County, that their patients would not experience withdrawal if they stopped using
opioids.

148. The Manufacturer Defendants deceptively minimized the significant
symptoms of opioid withdrawal that, per widely accepted opioid treatment guidelines,
include drug craving, anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating,
tremor, rapid heartbeat, spontaneous abortion and premature labor in pregnant women, and
the unmasking or exacerbating of anxiety, depression, and addiction.

149. The Manufacturer Defendants also grossly understated the difficulty of
tapering, particularly after long-term opioid use. Widely accepted opioid treatment
guidelines now emphasize that the duration of opioid use and the dosage of opioids
prescribed should be “limit[ed]” to “minimize the need to taper opioids to prevent
distressing or unpleasant withdrawal symptoms,” because “physical dependence on opioids
is an expected physiologic response in patients exposed to opioids for more than a few
days.” These guidelines further state that “tapering opioids can be especially challenging
after years on high dosages because of physical and psychological dependence” and
highlights the difficulties, including the need to carefully identify “a taper slow enough to
minimize symptoms and signs of opioid withdrawal” and to “pause[] and restart[]” tapers
depending on the patient’s response. Likewise, regulators have acknowledged the lack of
any “high-quality studies comparing the effectiveness of different tapering protocols for
use when opioid dosage is reduced or opioids are discontinued.”

150. Some prescribers and many patients across the country relied on the truth of

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the Manufacturer Defendants’ representations about both the benefits of opioid analgesics
and the risks of opioid addiction. Because each of the Manufacturer Defendants willfully
or recklessly concealed the truth about their products and knew or should have known their
representations were false at the time they were made, Vernon County and its citizens are
forced to pay the price for Defendants’ misconduct.
6. The Manufacturer Defendants Hid the Greater Risks to Patients
at Higher Dosages of Opioids

151. The Manufacturer Defendants were in the best position to know, and in fact
did know, that—relative to the general population—the risk of opioid-related death
increases exponentially after a patient takes opioids for several consecutive months.

152. Specifically, the Manufacturer Defendants falsely claimed that doctors and
patients could increase opioid dosages indefinitely without added risk and failed to disclose
the greater risks to patients at higher dosages. The ability to escalate dosages was critical
to the Manufacturer Defendants’ efforts to market opioids for long-term use to treat chronic
pain because, absent this misrepresentation, doctors would have abandoned treatment when
patients built up tolerance and lower dosages did not provide pain relief. Some illustrative
examples of these deceptive claims that were made by, are continuing to be made by, and/or
have not been corrected by the Manufacturer Defendants after May 21, 2011, are described
below:

a. Actavis’ predecessor created a patient brochure for Kadian in 2007
that stated, “Over time, your body may become tolerant of your
current dose. You may require a dose adjustment to get the right
amount of pain relief. This is not addiction.” Upon information and
belief, based on Actavis’ acquisition of its predecessor’s marketing
materials along with the rights to Kadian, Actavis continued to use
these materials in 2009 and beyond.

b. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the
kind of conduct that inspired and informed the conduct of other named
manufacturer defendants, and Cephalon sponsored APF’s Treatment
Options: A Guide for People Living with Pain (2007), which claims

1181379.1/81715.05012 66

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that some patients “need” a larger dose of an opioid, regardless of the
dose currently prescribed. The guide stated that opioids have “no
ceiling dose” and are therefore the most appropriate treatment for
severe pain.*

Endo sponsored a website, painknowledge.com, which claimed in
2009 that opioid dosages may be increased until “you are on the right
dose of medication for your pain.” The website was still accessible
online after May 21, 2011.

Endo distributed a pamphlet edited by a KOL entitled Understanding
Your Pain: Taking Oral Opioid Analgesics, which was still available
after May 21, 2011 on Endo’s website. In Q&A format, it asked “IfI
take the opioid now, will it work later when I really need it?” The
response is, “The dose can be increased. .. . You won’t ‘run out’ of
pain relief.”

Janssen sponsored a patient education guide entitled Finding Relief:
Pain Management for Older Adults (2009), which was distributed by
its sales force. This guide listed dosage limitations as “disadvantages”
of other pain medicines but omitted any discussion of risks of
increased opioid dosages.

Through March 2015, another publication from Purdue—which is
owned and controlled by the Sacklers—called In the Face of Pain,
promoted the notion that if a patient’s doctor does not prescribe what,
in the patient’s view, is a sufficient dosage of opioids, he or she should
find another doctor who will.

Purdue, which is owned and controlled by the Sacklers, sponsored a
CME entitled Overview of Management Options that is still available
for CME credit. The CME was edited by a KOL and taught that
NSAIDs and other drugs, but not opioids, are unsafe at high dosages.

 

39 The Manufacturer Defendants frequently contrasted the lack of a ceiling dosage
for opioids with the risks of a competing class of analgesics: over-the-counter nonsteroidal
anti-inflammatories (or NSAIDs). The Manufacturer Defendants deceptively describe the
risks from NSAIDs while failing to disclose the risks from opioids. (See, e.g., Case
Challenges in Pain Management: Opioid Therapy for Chronic Pain (Endo) (describing
massive gastrointestinal bleeds from long-term use of NSAIDs and recommending
opioids); Finding Relief: Pain Management for Older Adults (Janssen) (NSAIDs caused
kidney or liver damage and increased risk of heart attack and stroke, versus opioids, which
cause temporary “upset stomach or sleepiness” and constipation).)

1181379. 1/81715.05012

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153. Through a series of internal strategy presentations and other communications
with its sales force and prescriber-accomplices, Manufacturer Defendants aimed to “drive”
patients toward higher doses of opioids for longer periods by dramatically increasing the
supply. They also sought to increase consumer demand for opioids, namely by offering
discounts to patients on their first prescriptions. These discounts proved to be one of the

most powerful tactics to keep patients on opioids longer.

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Purdue internal strategy presentation from 2012

154. These claims conflict with the scientific evidence, as confirmed by widely
accepted opioid treatment guidelines. These guidelines admonish practitioners and other
industry stakeholders that while the “[bJenefits of high-dose opioids for chronic pain are
not established,” there are clear “risks for serious harms related to opioid therapy increase
at higher opioid dosages.”

155. More specifically, these guidelines explain that “there is now an established
body of scientific evidence showing that overdose risk is increased at higher opioid
dosages.” Opioid treatment guidelines also provide that “there is an increased risk for
opioid use disorder, respiratory depression, and death at higher dosages.”

156. Because “the available data do suggest a relationship between increasing
opioid dose and risk of certain adverse events.” Specifically, the clinical research
“appear[s] to credibly suggest a positive association between high-dose opioid use and the
risk of overdose and/or overdose mortality.” In fact, a recent study found that 92% of
persons who died from an opioid-related overdose were initially prescribed opioids for
chronic pain. In light of this evidence, prescribing clinicians are now advised to “avoid
increasing dosages” above 90 morphine milligram equivalents (“MMEs”) each day.

157. Finally, the Manufacturer Defendants’ deceptive marketing of the so-called

abuse-deterrent properties of some of their opioids has created false impressions that these

1181379.1/81715.05012 68

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opioids can prevent and curb addiction and abuse. Indeed, in a 2014 survey of 1,000
primary care physicians, nearly half reported that they believed abuse-deterrent
formulations are inherently less addictive.

158. These abuse deterrent formulations (“AD opioids”) are harder (but not
impossible) to crush, chew, or grind; become gelatinous when combined with a liquid,
making them harder to inject; or contain a counteragent such as naloxone that is activated
if the tablets are tampered. Though at all times relevant to this action the Manufacturer
Defendants falsely claimed that AD opioids “cannot be crushed,” these claims were
conclusively debunked by a study, finding that AD opioids are, in fact, “not impossible” to
abuse. They can be defeated—often quickly and easily—by those determined to do so.
Moreover, they do not stop oral intake, the most common avenue for opioid misuse and
abuse, and do not reduce the rate of misuse and abuse by patients who become addicted
after using opioids long-term as prescribed or who escalate their use by taking more pills
or higher doses.

159. Because of these significant limitations on AD opioids and because of the
heightened risk for misconceptions and for the false belief that AD opioids can be
prescribed safely, regulators have admonished the Manufacturer Defendants that any
communications from the sponsor companies regarding AD properties must be truthful and
not misleading (based on a product’s labeling), and supported by sound science taking into
consideration the totality of the data for the particular drug. Claims for AD opioid products
that are false, misleading, and/or insufficiently proven do not serve the public health. *°

160. Despite this admonition, the Manufacturer Defendants have made and
continue to make misleading claims about the extent to which their AD opioids can prevent
or reduce abuse and addiction.

161. For example, Endo has marketed Opana ER as tamper- or crush-resistant and

 

40 Ibid.

1181379.1/81715.05012 69

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less prone to misuse and abuse since at least May 21, 2011 even though: (1) Endo’s petition
to approve Opana ER as abuse-deterrent was rejected in 2012; (2) regulators found in 2013
that there was no evidence that Opana ER “would provide a reduction in oral, intranasal or
intravenous abuse”; and (3) Endo’s own studies, which it failed to disclose, showed that
Opana ER could still be ground and chewed. Endo’s advertisements for the 2012
reformulation of Opana ER falsely claimed that Opana ER could not be crushed, creating
the impression that the drug was more difficult to abuse. On information and belief,
detailers for Endo continue to reiterate these false statements to prescribers and patients
across the country, including prescribers and patients in Missouri and Vernon County
communities.

162. Inthe 2016 settlement with the NY AG, Endo agreed not to make statements
in New York that Opana ER was “designed to be, or is crush resistant.” The NY AG found
those statements false and misleading because there was no difference in the ability to
extract the narcotic from Opana ER. The NY AG also found that Endo failed to disclose
its own knowledge of the crushability of redesigned Opana ER in its marketing to
formulary committees and pharmacy benefit managers.

163. Because Opana ER could be “readily prepared for injection” and was linked
to outbreaks of HIV and a serious blood disease, in 2017, regulators requested that Endo
withdraw Opana ER from the market.

164. Likewise, Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind of conduct that
inspired and informed the conduct of other named manufacturer defendants, has engaged
and continues to engage in deceptive marketing of its AD opioids—i.e., reformulated
Oxycontin and Hysingla—since at least May 21, 2011. Before April 2013, Purdue did not
market its opioids based on their abuse deterrent properties. However, Missouri prescribers
report that detailers from Purdue have regularly used the so-called abuse deterrent

properties of Purdue’s opioid products as a primary selling point to differentiate those

1181379.1/81715.05012 70

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products from their competitors. Specifically, these detailers: (1) claim that Purdue’s AD
opioids prevent tampering and cannot be crushed or snorted; (2) claim that Purdue’s AD
opioids prevent or reduce opioid misuse, abuse, and diversion, are less likely to yield a
euphoric high, and are disfavored by opioid abusers; (3) Purdue’s AD opioids are “safer”
than other opioids; and (4) fail to disclose that Purdue’s AD opioids do not impact oral
abuse or misuse and that its abuse deterrent properties can be defeated.

165. These statements and omissions by Purdue, which is owned and controlled
by the Sacklers, neither of which/whom are defendants in this case, but which engaged in
the kind of conduct that inspired and informed the conduct of other named manufacturer
defendants, are false and misleading and conflict with or are inconsistent with the approved
label for Purdue’s AD opioids—which indicates that abusers do seek them because of their
high likability when snorted, that their abuse deterrent properties can be defeated, and that
they can be abused orally notwithstanding their abuse deterrent properties and which does
not indicate that AD opioids prevent or reduce abuse, misuse, or diversion.

166. A 2015 study also shows that many opioid addicts are abusing AD opioids
through oral intake or by defeating the abuse deterrent mechanism. Indeed, one-third of
the patients in the study defeated the abuse deterrent mechanism and were able to continue
inhaling or injecting the drug. And to the extent that the abuse of Purdue’s AD opioids
was reduced, those addicts simply shifted to other drugs such as heroin.*! Despite this, J.
David Haddox, the Vice President of Health Policy for Purdue, falsely claimed in 2016 that
the evidence does not show that Purdue’s AD opioids are being abused in large numbers.

167. Similarly, widely accepted clinical guidelines for opioid therapy state that
“Ino studies” support the notion that “abuse-deterrent technologies [are] a risk mitigation

strategy for deterring or preventing abuse,” noting that the technologies “do not prevent

 

41 Cicero, Theodore J., and Matthew S. Ellis, Abuse-deterrent formulations and the
prescription opioid abuse epidemic in the United States: lessons learned from Oxycontin,
72.5 JAMA Psychiatry, 424-30 (2015).

1181379.1/81715.05012 71

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opioid abuse through oral intake, the most common route of opioid abuse, and can still be
abused by nonoral routes.” Regulatory agencies have further reported that their staff could
not find “any evidence showing the updated opioids [ADFs] actually reduce rates of
addiction, overdoses, or death.”“?

168. These false and misleading claims about the abuse deterrent properties of
their opioids are especially troubling. First, the Manufacturer Defendants are using these
claims in a spurious attempt to rehabilitate their image as responsible opioid manufacturers.
Second, these claims are falsely targeting doctors’ concerns about the toll caused by the
explosion in opioid prescriptions and use and encouraging doctors to prescribe AD opioids
under the mistaken belief that these opioids are safer, even though they are not. Finally,
these claims are causing doctors to prescribe more AD opioids—which are far more
expensive than other opioid products even though they provide little or no additional
benefit.

169. These numerous, longstanding misrepresentations of the risks of long-term
opioid use spread by the Manufacturer Defendants successfully convinced healthcare
providers and patients to discount those risks.

7. The Manufacturer Defendants Grossly Overstated the Benefits of
Chronic Opioid Therapy

170. To convince doctors and patients that opioids should be used to treat chronic
pain, the Manufacturer Defendants also had to persuade them that there was a significant
upside to long-term opioid use. However, widely accepted clinical guidelines for opioid
therapy now make it clear that there is “insufficient evidence to determine the long-term
benefits of opioid therapy for chronic pain.” (Emphasis added.) In fact, these guidelines

found that “[n]o evidence shows a long-term benefit of opioids in pain and function versus

 

42 Perrone, Drugmakers push profitable, but unproven, opioid solution (Dec. 15,
2016), https://publicintegrity .org/state-politics/drugmakers-push-profitable-but-unproven-
opioid-solution/.

1181379.1/81715.05012 72

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no opioids for chronic pain with outcomes examined at least 1 year later (with most
placebo-controlled randomized trials < 6 weeks in duration)” and that other treatments
were more or equally beneficial and less harmful than long-term opioid use.

171. Likewise, regulators recognize the lack of evidence to support long-term
opioid use. In 2013, for instance, one regulator stated it was “not aware of adequate and
well-controlled studies of opioids use longer than 12 weeks.” Despite this, the
Manufacturer Defendants falsely and misleadingly touted the benefits of long-term opioid
use and falsely and misleadingly suggested that these benefits were supported by scientific
evidence. On information and belief, not only have the Manufacturer Defendants failed to
correct these false and misleading claims, they continue to make them today in Missouri
and in Vernon County.

172. For example, the Manufacturer Defendants falsely claimed that long-term
opioid use improved patients’ function and quality of life. Some illustrative examples of
these deceptive claims that were made by, are continuing to be made by, and/or have not
been corrected by the Manufacturer Defendants after May 21, 2011 are described below:

a. Actavis distributed an advertisement that claimed that the use of Kadian
to treat chronic pain would allow patients to return to work, relieve “stress
on your body and your mental health,” and help patients enjoy their lives.

b. Endo distributed advertisements that claimed that the use of Opana ER
for chronic pain would allow patients to perform demanding tasks like
construction work or work as a chef and portrayed seemingly healthy,
unimpaired subjects.

c. Janssen sponsored and edited a patient education guide entitled Finding
Relief: Pain Management for Older Adults (2009)—which states as “a
fact” that “opioids may make it easier for people to live normally.” The
guide lists expected functional improvements from opioid use, including
sleeping through the night, returning to work, recreation, sex, walking,
and climbing stairs and states that “[u]sed properly, opioid medications
can make it possible for people with chronic pain to ‘return to normal.’”

d. Purdue, which is owned and controlled by the Sacklers, neither of
which/whom are defendants in this case, but which engaged in the kind

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of conduct that inspired and informed the conduct of other named
manufacturer defendants, ran a series of advertisements for OxyContin in
2012 in medical journals entitled “Pain vignettes,” which were case
studies featuring patients with pain conditions persisting over several
months and recommending OxyContin for them. The ads implied that
OxyContin improves patients’ function.

Responsible Opioid Prescribing (2007), sponsored and distributed by
Endo, Cephalon and Purdue—owned and controlled by the Sacklers—
taught that relief of pain by opioids, by itself, improved patients’ function.

Purdue, which is owned and controlled by the Sacklers, and Cephalon
sponsored APF’s Treatment Options: A Guide for People Living with
Pain (2007), which counseled patients that opioids “give [pain patients]
a quality of life we deserve.”

Endo’s NIPC website painknowledge.com claimed in 2009 that with
opioids, “your level of function should improve; you may find you are
now able to participate in activities of daily living, such as work and
hobbies, that you were not able to enjoy when your pain was worse.”
Elsewhere, the website touted improved quality of life (as well as
“improved function”) as benefits of opioid therapy. The grant request
that Endo approved for this project specifically indicated NIPC’s intent
to make misleading claims about function, and Endo closely tracked visits
to the site.

Endo was the sole sponsor, through NIPC, of a series of non-credit
educational programs titled Persistent Pain in the Older Patient, which
claimed that chronic opioid therapy has been “shown to reduce pain and
improve depressive symptoms and cognitive functioning.” The CME
was disseminated via webcast.

Janssen sponsored, funded, and edited a website, Let’s Talk Pain, in 2009,
which featured an interview edited by Janssen claiming that opioids
allowed a patient to “continue to function.”

In a 2015 video on Forbes.com discussing the introduction of Hysingla
ER, Purdue’s Vice President of Health Policy, J. David Haddox, talked
about the importance of opioids, including Purdue’s opioids, to chronic
pain patients’ “quality of life,” and complained that government statistics
do not take into account that patients could be driven to suicide without
pain relief.

Since at least May 21, 2011, sales representatives for Endo, Teva, and

1181379. 1/81715.05012 74

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Janssen have conveyed and continue to convey to prescribers in Missouri,
including in Vernon County, the message that opioids will improve
patient function.

173. These claims find no support in the scientific literature. Regulators and
industry stakeholders have made this clear for years. Most recently, widely accepted
clinical guidelines for opioid therapy concluded that “there is no good evidence that opioids
improve pain or function with long-term use, and...complete relief of pain is unlikely.” As
illustrated below, this conclusion is reinforced throughout these guidelines:

e “No evidence shows a long-term benefit of opioids in pain and function
versus no opioids for chronic pain with outcomes examined at least I year
later...”

e “Although opioids can reduce pain during short-term use, the clinical
evidence review found insufficient evidence to determine whether pain
relief is sustained and whether function or quality of life improves with
long-term opioid therapy.”

e “/E]vidence is limited or insufficient for improved pain or function with
long-term use of opioids for several chronic pain conditions for which
opioids are commonly prescribed, such as low back pain, headache, and
fibromyalgia.”

174. Industry guidelines for opioid therapy also note that the risks of addiction
and death “can cause distress and inability to fulfill major role obligations.” As a matter
of common sense (and medical evidence), drugs that can kill patients or commit them to a
life of addiction or recovery do not improve their function and quality of life.

175. Consistent with these guidelines, regulators have also repudiated Defendants’
claim that opioids improved function and quality of life. In 2010, for instance, regulators
warned Actavis, in response to its advertising described above, that “[w]e are not aware of
substantial evidence or substantial clinical experience demonstrating that the magnitude of
the effect of the drug [Kadian] has in alleviating pain, taken together with any drug-related
side effects patients may experience...results in any overall positive impact on a patient’s

work, physical and mental functioning, daily activities, or enjoyment of life.” And in 2008,

1181379.1/81715.05012 75

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regulators sent a warning letter to an opioid manufacturer, making it clear “that [the claim
that] patients who are treated with the drug experience an improvement in their overall
function, social function, and ability to perform daily activities...has not been demonstrated
by substantial evidence or substantial clinical experience.”

176. The Manufacturer Defendants also falsely and misleadingly emphasized or
exaggerated the risks of competing products like NSAIDs, so that doctors and patients
would look to opioids first for the long-term treatment of chronic pain. For example, the
Manufacturer Defendants, before and after May 21, 2011, have overstated the number of
deaths from NSAIDS and have prominently featured the risks of NSAIDS, while
minimizing or failing to mention the serious risks of opioids. Once again, these
misrepresentations by the Manufacturer Defendants contravene widely accepted clinical
guidelines for opioid therapy as well as pronouncements by and guidance from regulators.
Indeed, in 2013, the labels for ER/LA opioids were changed to state that opioids should
only be used as a last resort “in patients for which alternative treatment options” like non-
opioid drugs “are inadequate.” An identical change was made to the labels of IR opioids
in 2016. And widely accepted clinical guidelines for opioid therapy expressly state that
NSAIDs—not opioids—should be the first-line treatment for chronic pain, particularly
arthritis and lower back pain.

8. The Manufacturer Defendants Engaged in Other Unlawful and
Unfair Misconduct

177. For over a decade, the Manufacturer Defendants have been able to track the
distribution and prescribing of their opioids down to the retail- and prescriber-levels.
Using—inter alia—their extensive networks of sales representatives and private databases
containing years of prescribing data, the Manufacturer Defendants had and continue to
have intimate knowledge of the prescribing practices of prescribing clinicians in Missouri,
including clinicians in Vernon County.

178. In stark contrast to repeated admonitions from regulators regarding the

1181379. 1/81715.05012 716

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Manufacturer Defendants’ “obligation to design and operate a system to
disclose...suspicious orders of controlled substances” and to inform regulators “of
suspicious orders when discovered,” the Manufacturer Defendants have improperly
leveraged their respective sales networks and prescribing databases to identify and
improperly increase marketing efforts to prescribers who have inappropriately prescribed
the Manufacturer Defendants’ opioids, without reporting these prescribers to the
appropriate authorities.

179. As Dr. Mitchell Katz, director of the Los Angeles County Department of
Health Services, said in a Los Angeles Times article, “[a]ny drug company that has
information about physicians potentially engaged in illegal prescribing or prescribing that
is endangering people’s lives has a responsibility to report it.”

180. For instance, Defendant Endo has been cited for its failure to set up an
effective system for identifying and reporting suspicious prescribing. In its settlement
agreement with Endo, the NY AG found that Endo failed to require sales representatives
to report signs of abuse, diversion, and inappropriate prescribing; paid bonuses to sales
representatives for detailing prescribers who were subsequently arrested or convicted for
illegal prescribing; and failed to prevent sales representatives from visiting prescribers
whose suspicious conduct had caused them to be placed on a no-call list. The NY AG also
found that, in certain cases where Endo’s sales representatives detailed prescribers who
were convicted of illegal prescribing of opioids after May 21, 2011, those representatives
could have recognized potential signs of diversion and reported those prescribers but failed
to do so.

181. In 2000, Mylan agreed to pay $100 million to resolve allegations that it
conspired to deny its competitors certain necessary ingredients to manufacture several
widely-prescribed medications, including treatments for opioid use disorder and opioid
addiction. As alleged in petitions filed by thirty-two State Attorneys General and the

District of Columbia, Mylan’s conduct caused substantial price increases in, and

1181379.1/81715.05012 77

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improperly limited the supply of, these treatments.

182. In 2013, West-Ward was forced to pay penalties for shirking the company’s
legal obligation to make timely payments to drug discount programs that provide
vulnerable patient population with affordable access to pharmaceuticals, and also agreed
to pay $10,000,000 to resolve allegations that West-Ward had also been inflating
prescription drug prices since 1995, effectively overcharging some of its most vulnerable
patient populations.

183. In addition, Manufacturer Defendant Hospira has been cited by regulatory
agencies for both failing to operate its manufacturing facilities in compliance with basic
health and safety guidelines intended to prevent microbiological contamination of
Hospira’s products—including opioids—and for failing to investigate known defects in its
products.

184. Despite the clear consequences for their misconduct, for years the
Manufacturer Defendants’ sales representatives have pressed prescribing clinicians to
prescribe their opioids, offering various gifts, rewards and/or other financial incentives to
prescribers, to persuade these clinicians to help the Manufacturer Defendants facilitate their
widespread deception about the risks and benefits of opioids for the long-term treatment of
chronic pain. Indeed, on information and belief, the Manufacturer Defendants’ misconduct
is ongoing as they continue to profit from the prescriptions of such prolific prescribers in
Missouri, including in Vernon County.

F. Although the Manufacturer Defendants Knew That Their Marketing of

Opioids Was False and Misleading, They Fraudulently Concealed Their
Misconduct

185. The Manufacturer Defendants, both individually and collectively, made,
promoted, and profited from their misrepresentations about the risks and benefits of opioids
for chronic pain even though they knew that their misrepresentations were false and

misleading. The history of opioids, as well as research and clinical experience over the last

1181379.1/81715.05012 718

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20 years, established that opioids were highly addictive and responsible for a long list of
very serious adverse outcomes. Regulators warned the Manufacturer Defendants of this.
The Manufacturer Defendants had access to scientific studies, detailed prescription data,
and reports of adverse events, including reports of addiction, hospitalization, and deaths—
all of which made clear the harms from long-term opioid use and that patients are suffering
from addiction, overdoses, and death in alarming numbers. More recently, regulators have
issued pronouncements based on the medical evidence that conclusively expose the known
falsity of the Manufacturer Defendants’ misrepresentations, and several Manufacturer
Defendants have recently entered agreements prohibiting them from making some of the
same misrepresentations described in this Petition in New York.

186. Moreover, at all times relevant to this Petition, the Manufacturer Defendants
fraudulently concealed their deceptive marketing and unlawful, unfair, and fraudulent
conduct. For example, the Manufacturer Defendants disguised their own role in the
deceptive marketing of chronic opioid therapy by funding and working through third
parties like Front Groups and KOLs. The Manufacturer Defendants purposefully hid
behind the assumed credibility of these individuals and organizations and relied on them
to vouch for the accuracy and integrity of the Manufacturer Defendants’ false and
misleading statements about the risks and benefits of long-term opioid use for chronic pain.

187. The Manufacturer Defendants also never disclosed their role in shaping,
editing, and approving the content of information and materials disseminated by these third
parties. The Manufacturer Defendants exerted considerable influence on these promotional
and “educational” materials in emails, correspondence, and meetings with KOLs, Front
Groups, and public relations companies that were not, and have not yet become, public.
For example, painknowledge.org, which is run by the NIPC, did not disclose Endo’s
involvement. Other Manufacturer Defendants, such as Janssen, ran similar websites that
masked their own direct role.

188. Finally, the Manufacturer Defendants manipulated their promotional

1181379.1/81715.05012 79

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materials and the scientific literature to make it appear that these items were accurate,
truthful, and supported by objective evidence when they were not. The Manufacturer
Defendants distorted the meaning or import of studies they cited and offered them as
evidence for propositions the studies did not support. The lack of support for the
Manufacturer Defendants’ deceptive messages was not apparent to medical professionals
who relied upon them in making treatment decisions, nor could it have been detected by
Plaintiff.

189. Thus, the Manufacturer Defendants successfully concealed from the medical
community, patients, and health care payors facts sufficient to arouse suspicion of the
claims that Plaintiff now asserts. Plaintiff did not know of the existence or scope of the
Manufacturer Defendants’ industry-wide fraud and could not have acquired such
knowledge earlier through the exercise of reasonable diligence.

G. By Knowingly Causing an Explosion in Opioid Prescribing, Use, Misuse,

Abuse, and Addiction Through Their Deceptive Marketing Schemes and

Unlawful and Unfair Business Practices, Each Manufacturer Defendant

Has Created or Assisted in the Creation of a Public Nuisance in Vernon

County

1. The Manufacturer Defendants’ Deceptive Marketing Scheme Has
Caused and Continues to Cause a Huge Increase in Opioid
Prescriptions and Use in Vernon County

190. The Manufacturer Defendants’ misrepresentations deceived and continue to
deceive doctors and patients in Vernon County about the risks and benefits of long-term
opioid use. Studies also reveal that some doctors and many patients are not aware of or do
not understand these risks and benefits. Indeed, patients often report that they were not
warned they might become addicted to opioids prescribed to them. As reported in January
2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told

opioids were potentially addictive. Indeed, Missouri residents in treatment for opioid

1181379.1/81715.05012 80

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addiction, including citizens of Vernon County, were never told that they might become
addicted to opioids when they started taking them, were told that they could easily stop
using opioids, or were told that the opioids they were prescribed were less addictive than
other opioids.

191. The Manufacturer Defendants knew and should have known that their
misrepresentations about the risks and benefits of long-term opioid use were false and
misleading when they made them.

192. The Manufacturer Defendants’ deceptive marketing scheme and their
unlawful and unfair business practices caused and continue to cause doctors and other
clinicians in Vernon County to prescribe opioids for the treatment of long-term chronic
pain conditions such as back pain, headaches, arthritis, and fibromyalgia. Absent the
Manufacturer Defendants’ deceptive marketing scheme and their unlawful and unfair
business practices, these clinicians would not have prescribed as many opioids to as many
patients, and there would not have been as many opioids available for misuse and abuse or
as much demand for those opioids.

193. The Manufacturer Defendants’ deceptive marketing scheme and their
unlawful and unfair business practices also caused and continue to cause patients in
Missouri, including patients in Vernon County, to purchase and use opioids for their
chronic pain believing they are safe and effective. Absent Defendants’ deceptive
marketing scheme, fewer patients would be using opioids long-term to treat chronic pain,
and those patients using opioids would be using less of them. The Manufacturer
Defendants’ deceptive marketing and their unlawful and unfair business practices have
caused and continue to cause the prescribing and use of opioids to explode in Vernon
County.

194. The Manufacturer Defendants’ deceptive marketing of the abuse-deterrent
properties of their opioids during the past few years has been particularly effective,

including in Vernon County. Such deceptive marketing has created the false impression

1181379.1/81715.05012 81

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among pain specialists and other prescribers that Defendants’ AD opioids are appropriate
for the long-term treatment of chronic pain, which in turn has increased the number of
prescriptions for these Defendants’ AD opioids. Although sales of AD opioids still
represent only a small fraction of opioids sold (less than 5% of all opioids sold in 2015),
they represent a disproportionate share of opioid sales revenue ($2.4 billion or
approximately 25% in opioid sales revenue in 2015).

195. The dramatic increase in opioid prescriptions and use corresponds with the
dramatic increase in the Manufacturer Defendants’ spending on their deceptive marketing
scheme. The Manufacturer Defendants’ spending on opioid marketing totaled
approximately $91 million in 2000. By 2011, that spending had tripled to $288 million.

2. By Causing an Explosion in Opioid Prescriptions and Use, the
Manufacturer Defendants Have Created or Assisted in the
Creation of a Public Nuisance in Vernon County

196. The escalating number of opioid prescriptions written by healthcare
providers who were deceived by the Manufacturer Defendants’ deceptive marketing
scheme is the cause of a correspondingly dramatic increase in opioid addiction, overdose,
and death throughout the United States and Missouri communities, including in Vernon
County.

197. Representing the regulators in hearings before the Senate Caucus on
International Narcotics Control in May 2014, Dr. Nora Volkow explained that “aggressive
marketing by pharmaceutical companies” is “likely to have contributed to the severity of
the current prescription drug abuse problem.”

198. In August 2016, the Surgeon General published an open letter to be sent to
physicians nationwide, enlisting their help in combating this “urgent health crisis” and
linking that crisis to deceptive marketing. He wrote that the push to aggressively treat pain,
and the “devastating” results that followed, had “coincided with heavy marketing to

doctors...[m]any of [whom] were even taught—incorrectly—tat opioids are not addictive

1181379. 1/81715.05012 82

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when prescribed for legitimate pain.”

199. Scientific evidence demonstrates a strong correlation between opioid
prescriptions and opioid abuse. In a 2016 report, one regulator explained that “[o]pioid
pain reliever prescribing has quadrupled since 1999 and has increased in parallel with
[opioid] overdoses.” Patients receiving prescription opioids for chronic pain account for
the majority of overdoses. For these reasons, regulators have concluded that efforts to rein
in the prescribing of opioids for chronic pain are critical “to reverse the epidemic of opioid
drug overdose deaths and prevent opioid-related morbidity.”

200. Contrary to the Manufacturer Defendants’ misrepresentations, most opioid
addiction begins with legitimately prescribed opioids. In 2011, 71% of people who abused
prescription opioids got them through friends or relatives, not from pill mills, drug dealers
or the internet. Numerous doctors and substance abuse counselors note that many of their
patients who misuse or abuse opioids started with legitimate prescriptions, confirming the
important role that doctors’ prescribing habits have played in the opioid epidemic. As
regulators observed in 2016, the opioid epidemic is getting worse, not better.

201. The overprescribing of opioids for chronic pain caused by the Manufacturer
Defendants’ deceptive marketing scheme has also resulted in a dramatic rise in the number
of infants in Missouri who are born addicted to opioids due to prenatal exposure and suffer
from neonatal abstinence syndrome. From 2006 to 2016, there was a 538% increase in
reported cases of NAS in Missouri alone. These infants face painful withdrawal and may
suffer long-term neurologic and cognitive impacts.

202. The Manufacturer Defendants’ creation, through false and misleading
advertising and other unlawful and unfair conduct, of a virtually limitless opioid market
has significantly harmed communities across the nation, including Vernon County and its
citizens. The Manufacturer Defendants’ success in extending the market for opioids to
new patients and chronic pain conditions has created an abundance of drugs available for

non-medical and criminal use and fueled a new wave of addiction and injury. It has been

1181379. 1/81715.05012 83

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estimated that 60% of the opioids that are abused come, directly or indirectly, through
doctors’ prescriptions.

203. The rise in opioid addiction caused by the Manufacturer Defendants’
deceptive marketing scheme has also resulted in an explosion in heroin use. Almost 80%
of those who used heroin in the past year previously abused prescription opioids.

204. Many patients who become addicted to opioids will lose their jobs. Some
will lose their homes and their families. Some will get treatment and fewer will
successfully complete it; many of those patients will relapse, returning to opioids or some
other drug. Of those who continue to take opioids, some will overdose—some fatally,
some not. Others will die prematurely from related causes—falling or getting into traffic
accidents due to opioid-induced somnolence; dying in their sleep from opioid-induced
respiratory depression; suffering assaults while engaging in illicit drug transactions; or
dying from opioid-induced heart or neurological disease.

205. Absent each Manufacturer Defendants’ deceptive marketing scheme and
their unlawful and unfair business practices, the public health crisis caused by opioid
misuse, abuse, and addiction in Vernon County, would have been averted or much less
severe.

206. These harms in Vernon County, caused by the Manufacturer Defendants’
deceptive marketing schemes and unlawful and unfair business practices are a public
nuisance because they are an offense against the public order and economy and violates
the public’s right to life, health, and the use of property, while, at the same time, annoys,
injures, endangers, renders insecure, interferes with, or obstructs the rights or property of
the whole community, or neighborhood, or of any considerable number of persons.

3. The Manufacturer Defendants Knew and Should Have Known
That Their Deceptive Marketing Schemes Would Create or Assist
in the Creation of This Public Nuisance in Vernon County

207. The Manufacturer Defendants knew and should have known about these

1181379.1/81715.05012 84

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harms that their deceptive marketing and unlawful and unfair business practices have
caused and continue to cause in Vernon County. The Manufacturer Defendants closely
monitored their sales and the habits of prescribing doctors. Their sales representatives,
who visited doctors and attended CMEs, knew which doctors were receiving their
messages and how they were responding. The Manufacturer Defendants also had access
to and watched carefully government and other data that tracked the explosive rise in opioid
use, addiction, injury, and death. They knew—and, indeed, intended—that their
misrepresentations would persuade healthcare providers in Vernon County to prescribe,
and patients in Vernon County to use, their opioids for the long-term treatment of chronic
pain.
4. The Manufacturer Defendants’ Conduct and Role in Creating or
Assisting in the Creation of the Public Nuisance Is Not Excused
by the Actions of any Third Parties |

208. The Manufacturer Defendants’ actions are not permitted nor excused by the
fact that their drug labels may have allowed or did not exclude the use of opioids for chronic
pain. Regulatory approval of opioids for certain uses did not give the Manufacturer
Defendants license to misrepresent the risks and benefits of opioids. Indeed, the
Manufacturer Defendants’ misrepresentations were directly contrary to pronouncements
by and guidance from regulators based on the medical evidence and their own labels.

209. Likewise, the Manufacturer Defendants’ causal role was not broken by the
involvement of healthcare providers. Defendants’ marketing efforts were ubiquitous and
highly persuasive. Their deceptive messages tainted virtually every source doctors could
rely on for information and prevented them from making informed treatment decisions.
The Manufacturer Defendants were also able to harness and hijack what doctors wanted to
believe—namely, that opioids represented a means of relieving their patients’ suffering and

of practicing medicine more compassionately.

1181379.1/81715.05012 85

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H. The Manufacturer Defendants’ Fraudulent Marketing Has Led To
Record Profits

210. While the use of opioids has taken an enormous toll both on communities
across the nation and on Vernon County and its citizens, the Manufacturer Defendants have
realized blockbuster profits. In 2014 alone, opioids generated $11 billion in revenue for
drug companies like the Manufacturer Defendants. Indeed, financial information indicates
that each Manufacturer Defendant experienced a material increase in sales, revenue, and
profits from the false and misleading advertising and other unlawful and unfair conduct
described above.

I. John Kapoor and Michael Babich Led Insys’s Misconduct

211. A corporation’s officers and directors can be jointly and severally liable for
their misconduct. In this case, the Individual Defendants John Kapoor and Michael Babich
made the decisions to break the law; they controlled the unfair and deceptive conduct; and
they personally collected many millions of dollars from the deception.

212. John Kapoor (“Kapoor”), the founder and majority owner of Insys, and
Michael Babich (“Babich”), the former CEO and President of Insys, led a nationwide
conspiracy to profit using bribes and fraud to cause the illegal distribution of Subsys.

213. Kapoor and Babich conspired to bribe practitioners in various states,
including in Missouri, many of whom operated pain clinics, in order to get them to
prescribe Subsys. In exchange for bribes and kickbacks, the practitioners wrote large
numbers of prescriptions for patients, many of whom were not diagnosed with cancer, and
therefore did not need Subsys.

214. Kapoor and Babich also conspired to mislead and defraud health insurance
providers who were reluctant to approve payment for the drug when it was prescribed for
non-cancer patients. They achieved this goal by setting up a “reimbursement unit” which
was dedicated to obtaining prior authorization directly from insurers and pharmacy benefit

managers.

1181379.1/81715.05012 86

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215. Kapoor and Babich fueled the opioid epidemic by paying doctors to
needlessly prescribe Subsys for patients who did not need it, and without complying with
Missouri law, thus putting patients at risk and contributing to the current opioid crisis.
Kapoor and Babich committed fraud, placing profit before patient safety, to sell a highly
potent and addictive opioid.

J. Distributor Defendants’ Violation of Duty

216. Distributor Defendants AmerisourceBergen Corporation; PharMEDium
Services, LLC; Cardinal Health, Inc.; Cardinal Health 5, LLC; Cardinal Health 100, Inc.;
Cardinal Health 108, LLC; Cardinal Health 110, LLC; Cardinal Health 113, LLC; Cardinal
Health 122, LLC; Cardinal Health 132, LLC; Cardinal Health 200, LLC; Cardinal Health
201, Inc.; Cardinal Health 414, LLC; Cardinal Health Pharmacy Services, LLC; Morris &
Dickson Co., L.L.C.; Pharmalink, Inc.; and Walmart Inc. f/k/a Wal-Mart Stores, Inc. have
a duty to exercise reasonable care under the circumstances. This involves a duty not to
create a foreseeable risk of harm to others. Additionally, one who engages in affirmative
conduct and thereafter realizes or should realize that such conduct has created an
unreasonable risk of harm to another is under a duty to exercise reasonable care to prevent
the threatened harm.

217. Specifically, under Mo. Rev. Stat. §195.050.6, “[e]very person registered to
manufacture, distribute or dispense controlled substances”—i.e., “Registrants” —are
obligated to design and operate a system to disclose to the registrant suspicious orders of
controlled substances, especially opioids. Each of the Distributor Defendants is aregistrant
for purposes of this section and, therefore, must satisfy certain reporting requirements of
any and all “suspicious orders.” Orders of controlled substances that are either unusual in
size or frequency, or otherwise substantially deviate from a normal pattern, qualify as

“suspicious orders.”

1181379. 1/81715.05012 87

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Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 89 of 119 PagelD #: 115

K. Distributor Defendants Knew or Should Have Known They Were
Facilitating Widespread Opioid Diversion

218. Opioid diversion in the supply chain has always been a widespread problem
and has been highly publicized. Numerous publications from regulators and professional
associations have highlighted the epidemic rate of opioid abuse and overdose rates in
Missouri and Vernon County as well as throughout the United States,

219. Prescription drug abuse is one of the fastest-growing drug problems in the
United States, particularly in Missouri. In 2010-2011, 4.76%-6.37% of Missourians

engaged in non-medical use of pain relievers.

 

Average Past Year Prevalence of Non-Medical Use
of Pain Relievers, 2010-2011
Persons Aged 12 and Older

   

 

 

 

220. To combat the problem of opioid diversion, regulators have provided
guidance to distributors on the requirements of suspicious order reporting in numerous
venues, publications, documents, and final agency actions.

221, Since 2006, regulators have conducted one-on-one briefings with distributors
regarding downstream customer sales, their due diligence responsibilities, and their legal
and regulatory responsibilities (including the responsibility to know their customers and
report suspicious orders.) The distributors were provided with data on controlled substance
distribution patterns and trends, including data on the volume of orders, frequency of

orders, and percentage of controlled vs. non-controlled purchases. The distributors were

1181379.1/81715.05012 88

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also given case studies, legal findings against other registrants, and profiles of their
customers whose previous purchases may have reflected suspicious ordering patterns.
These materials pointed out “red flags” distributors should look for in order to identify
potential diversion. This initiative was created to help distributors understand their duties
with respect to diversion control.

222. For years, regulators have hosted conferences to provide distributors with
updated information about diversion trends and regulatory changes that affect the drug
supply chain, the distributor initiative, and suspicious order reporting. All of the major
distributors—including AmerisourceBergen and Cardinal Health—attended at least one of
these conferences. The conferences allowed the distributors to ask questions, raise
concerns, and request clarification on policies and procedures intended to prevent opioid
diversion. a

223. Likewise, regulators have participated in numerous meetings and events with
the legacy Healthcare Distribution Management Association (<HDMA*), now known as
the Healthcare Distribution Alliance (“HDA”), an industry trade association for
wholesalers and distributors. Regulators have provided giidance to the association
concerning suspicious order monitoring, and the association: has published guidance
documents for its members on suspicious order monitoring, reporting requirements, and
the diversion of controlled substances.*7 (HDMA, “Industry Compliance Guidelines:
Reporting Suspicious Orders and Preventing Diversion of Controlled Substances,” (2008).)

224. On September 27, 2006 and again on December 27, 2007, regulators sent
letters to all relevant opioid distributors providing guidance on suspicious order monitoring

of controlled substances and the responsibilities and obligations of the registrant to conduct

 

4 See, e.g., HDA.org, Issues in Distribution, Prescription Drug Abuse and

Diversion (2018) (describing various resources “address[ing] the industry’s approach to
countering diversion and ensuring the safe supply of medicines to licensed entities across
the supply chain’), https://www.hda.org/issues/prescription-drug-abuse-and-diversion.

1181379.1/81715.05012 89

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due diligence on controlled substance customers as part of a program to maintain effective
controls against diversion. These letters reminded these distributors that they were required
by law to exercise due diligence to avoid filling orders that may be diverted into the illicit
market. These letters explained that as part of the legal obligation to maintain effective
controls against diversion, the distributor is required to exercise due care in confirming the
legitimacy of all orders prior to filling.

225. In late 2007, regulators sent a follow-up letter to all relevant opioid
distributors, providing guidance and reinforcing the legal requirements outlined in the
September 2006 correspondence. The letter reminded these distributors that suspicious
orders must be reported when discovered and monthly transaction reports of excessive
purchases did not meet the regulatory criteria for suspicious order reporting. The letter
also advised distributors that they must perform an independent analysis of a suspicious
order prior to the sale to determine if controlled substances would likely be diverted, and
that filing a suspicious order and then completing the sale does not absolve the distributors
from legal responsibility.

226. The Distributor Defendants were on notice that their own industry group, the
Healthcare Distribution Management Association, published Industry Compliance
Guidelines titled “Reporting Suspicious Orders and Preventing Diversion of Controlled
Substances” that stressed the critical role of each member of the supply chain in distributing
controlled substances.

227. Opioid distributors themselves recognized the magnitude of the problem and,
at least rhetorically, their legal responsibilities to prevent diversion. They have made
statements assuring the public they are supposedly undertaking a duty to curb the opioid
epidemic.

228. For example, a Cardinal Health executive recently claimed that it uses
“advanced analytics” to monitor its supply chain; Cardinal Health assured the public it was

being “as effective and efficient as possible in constantly monitoring, identifying, and

1181379.1/81715.05012 90

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eliminating any outside criminal activity.”

229. These assurances, in addition to obligations imposed by law, show that
Distributor Defendants understand and have undertaken a duty to protect the public against
diversion from their supply chains, and to curb the opioid epidemic.

230. However, despite these statements and duties, Distributor Defendants have
knowingly or negligently allowed diversion. Their misconduct has resulted in numerous
civil fines and other penalties recovered by state and federal agencies, including actions by
regulators.

231. In2008, Cardinal Health paid a $34 million penalty to settle allegations about
opioid diversion taking place at seven warehouses around the United States. Again in
2012, Cardinal Health reached an administrative settlement to resolve allegations of opioid
diversion between 2009 and 2012 in multiple states. Even more recently, in December
2016, Cardinal Health settled similar allegations of opioid diversion, paying $34 million
plus penalties. During the investigation of Cardinal Health, evidence was discovered that
Cardinal Health’s own investigator warned Cardinal Health against selling opioids to a
particular pharmacy in Florida that was suspected of opioid diversion. Instead of heeding
the investigator’s warning, Cardinal Health increased its opioid shipments to this pharmacy
by almost 2 million doses of oxycodone in just one year, while other comparable
pharmacies were receiving approximately 69,000 doses/year.

232. In 2007, AmerisourceBergen lost its license to send controlled substances
from a distribution center amid allegations that it was not controlling shipments of
prescription opioids to Internet pharmacies. Again in 2012, AmerisourceBergen was
implicated for failing to protect against the diversion of particular controlled substances
into non-medically necessary channels. It has been reported that AmerisourceBergen has
been subpoenaed for documents in connection with a grand jury proceeding seeking
information on the company’s “program for controlling and monitoring diversion of

controlled substances into channels other than for legitimate medical, scientific and

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industrial purposes.”

233. Although these Distributor Defendants have been penalized by law
enforcement authorities, these penalties have not changed their conduct. They pay fines as
a cost of doing business in an industry which generates billions of dollars in revenue.

234. Plaintiff does not bring causes of action based on violations of federal
statutes and regulations. However, the existence of these complicated regulatory schemes
shows Defendants’ intimate knowledge of the dangers of diversion of prescription opioids
and the existence of a thriving illicit market for these drugs. The Defendants breached their
duties to Plaintiff despite this knowledge and longstanding regulatory guidance of how to
deter and prevent diversion of prescription opioids.

L. The Pharmacy Defendant Understood But Violated Its Duties

235. Pharmacy Defendant Wal-Mart Stores East I, LP f/k/a Wal-Mart Stores East,
LP d/b/a Walmart #34 earned enormous profits by flooding the State of Missouri, including
Vernon County, with prescription opioids. It gained unique knowledge of the oversupply
of prescription opioids through the extensive data and information it developed and
maintained as a dispensary. Rather than act to stem the flow of opioids into communities
like Vernon County, it participated in and profited from the oversupply. Further, on
information and belief, the Pharmacy Defendant committed and continues to commit
serious and flagrant violations of its duties under Missouri law regarding—inter alia—
recordkeeping and dispensing opioids to Vernon County patients.

M. Each of the Defendants’ Misconduct Has Injured and Continues to

Injure Vernon County and Its Citizens

236. In addition to the significant social costs associated with illicit drug use,
Defendants’ predatory and willful misrepresentations in manufacturing, marketing and/or
distributing opioids have imposed significant tax-based economic damages on Vernon
County, including tax revenue expended incident to providing various public services that

Vernon County is required to provide to its citizens under Missouri law, including

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healthcare- and crime-related costs. These revenues would not have been expended but for
the opioid crisis that Defendants willfully and foreseeably caused in Missouri, generally
and in Vernon County specifically.

237. As Defendants’ opioids continue to wreak havoc on communities across the
country and in Missouri, including Vernon County, citizens are becoming incapacitated by
and/or dying from opioids. Vernon County has also been deprived of the benefits these
citizens would have conferred to their community but for Defendants’ wrongful conduct.
Vernon County has lost both the productivity of its citizens who have been hospitalized,
incarcerated, killed, or otherwise incapacitated by opioids as a result of Defendants’
deception described in this Petition, including the collection of property and/or sales taxes
these citizens would have paid had Defendants simply told the truth about the risks and
benefits of opioids for the long-term treatment of chronic pain.

238. In response to Defendants’ wrongful conduct, Vernon County has taken
action to track, manage, and minimize the prescription of opioids to the citizens of Vernon
County by joining the St. Louis County Prescription Drug Monitoring Program as one of
the first governments in southwest Missouri to join the network of cities and counties that
are taking steps to do what the State of Missouri hasn’t.“*

1. Tax Revenue Expended—Healthcare-Related Costs

239, Since 2010 to present day, drugs kill more Missourians than motor vehicle

accidents with 70% of drug overdose deaths attributed to opioid abuse.*5

240. While Defendants reaped billions of dollars in profits from their deceptive

 

44 Diane Stafford, The Kansas City Star, Cerner cheers as its ‘Healthy City,’
Nevada, MO., joins prescription drug monitoring network (March 22, 2017),
https://www.kansascity.com/news/business/health-care/ article140156523.html.

45 Reidhead, M. & Porth, L. (2018), 4 Dangerous Intersection: Drug Overdose
Fatalities Surpass Motor Vehicle Deaths. Missouri Hospital Association,
https://www.mhanet.com/mhaimages/opioid/MV A_v_Opioids/A_Dangerous_Intersectio
n.pdf.

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conduct, Vernon County has suffered—and continues to suffer—irreparable damage in the
form of increased healthcare-related costs, which Missouri law requires that Vernon
County pay, to protect the health and safety of its citizenry. Vernon County would not
have incurred these costs had Defendants not concealed the dangers (and misrepresented
the benefits) of the relevant opioids.

241. In particular, each of the Defendants have directly and proximately caused
Vernon County to divert precious tax dollars and local resources from Vernon County’s
general and special revenue funds, in order to address its citizens’ ever-increasing need for
county-funded, opioid-related health services, particularly for inmates of Vernon County
jails.

(a) Health Services for Vernon County Jail Population

242. Between 2006 to 2015, Missouri saw a 138% increase in hospitalizations and
emergency department visits due to opioid misuse or abuse.*© Opioids have a significant
impact upon Missouri’s medical care system due to the volume of encounters involving
opioids, and the costs of these encounters. While the full economic burden of opioids upon
the healthcare system is difficult to precisely calculate, a reasonable measure may be
derived using hospital reported charges provided by the Hospital Industry Data Institute.
In 2016, using this approach, the cost of 921 opioid overdose deaths was an estimated $12.1
billion.47 Thus, in 2016, the average cost per opioid-related death amounts to
$13,029,315.96. In 2017, opioid use and overdose deaths cost the state of Missouri more
than $14 billion, or $38.4 million a day.”

 

46 Missouri Hospital Association, Trends in Hospital Utilization for
Opioid Overuse and Drug-Dependent Newborns in Missouri, Pp. 4 (2016),
https://www.mhanet.com/mhaimages/opioid/NAS_Research.pdf.

47 M. Reidhead, The Economic Cost of the Opioid Epidemic in Missouri, Missouri
Hospital Association, p. 2 (Jan. 2018), https://www.mhanet.com/mhaimages/
HiDIHealthStats/Feb2018HealthStats Special OpioidsEconomy.pdf.

48 Lily Lieberman, Missouri’s costs from opioid crisis exceed $14B, Kansas City

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243. Consistent with this general trend, Vernon County has expended significant
resources in connection with providing healthcare services to the Vernon County’s jail
population. Vernon County dedicates substantial general funds to meet the health and
wellness needs of inmates, and a significant portion of these funds are used to provide
opioid-related health services to these inmates.

244. In fact, in 2018, County Commissioners asked for additional general funds
in excess of $248,000 for the Sheriff’s Office to be used for its task force, jail utilities,
supplies and maintenance, and prisoner housing, meals, and medical, all due to an increase
in prisoner housing at the Vernon County jail.”

245. Moreover, as the number of opioid-related hospital encounters in Vernon
County has ballooned, the costs of treatment and supplies have also increased. This
increase has strained—and continues to strain—Plaintiffs coffers, which provide the
financial resources needed to respond appropriately to an increasing demand for opioid-
related medical services for Vernon County inmates, including costs for furnishing
necessary supplies such as providing Narcan and Naloxone, specialized training, law
enforcement and public safety staff for Vernon County’s jail population such as law
enforcement officers, dispatchers, jailers, and emergency management.

2. Tax Revenue Expended—Crime-Related Costs

246. In addition to imposing on Plaintiff increasing healthcare-related costs,
Defendants’ scheme has also damaged Vernon County in the form of increased criminal
justice costs, including those associated with opioid-related arrests, investigations and

other local services provided by the sheriff’s office. Funds necessary to maintain the day-

 

Business Journal (Mar. 28, 2019), https://www.bizjournals.com/kansascity/news/
2019/03/28/missouri-s-costs-from-opioid-crisis-exceed-14b.html.

49 See, e.g., 2018 Budget Amendments—Vernon County, pg. 1 (December 12,
2018), https://vernoncountymo.org/wp-content/uploads/Budget-Amendment-12-12-2018-
A-1.pdf.

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to-day operating expenses and equipment for these programs come from Plaintiffs General
Fund.*°

247. Because Plaintiff finances the operation of the Vernon County Sheriff's
Office through its General Fund, the increased burden on the Vernon County Sheriff's
Office resulting from Defendants’ misconduct has likewise damaged Plaintiff

(a)  Opioid-Related Arrests and Investigations

248. The effects of Defendants’ deceptive marketing and distribution scheme have
further impacted Plaintiff by creating various public nuisances—including public health
and safety hazards—which Plaintiff is obligated to abate. Plaintiff has dedicated
substantial tax dollars to maintain the public safety and mitigate the incidence of drug and
property crimes. Many of these drug and property crimes are committed by opioid addicts
who are both actively looking to feed their addictions, as well as suffering from serious
medical and/or physical conditions typically associated with the spread opioid abuse, such
as Hepatitis B and C, HIV, sexually transmitted diseases and methicillin-resistant
staphylococcus aureus (“MRSA”), among other conditions.

249. Specifically, the Vernon County Sheriffs Office has expended funds and
exerted effort to investigate and respond to opioid-related calls and crimes. From 2015 to
2017, there were 266 reported drug-related arrests in Vernon County.*!

250. From 2012-2016, there were at least 104 recorded opioid overdose cases in
Vernon County, many of which required the dedicated time of several sheriff's department

officers to perform various tasks, including—but not limited to—investigations, arrests,

 

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51 Missouri Department of Mental Health, Substance Use and Mental Health
Indicators, 2018 Status Report on Missouri’s Substance Use and Mental Health,
https://dmh.mo.gov/media/pdf/substance-use-and-mental-health-indicators-vernon-
county.

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bookings, report writing, evidence impounding, scene security and follow up time.

251. Because Plaintiff finances the operation of the Vernon County Sheriffs
Office through Vernon County’s General Fund, the increased criminal-related costs
associated with opioid-related arrests and investigations has likewise damaged Plaintiff.
These costs, which Plaintiff incurred and continues to incur in connection with Vernon
County’s ongoing efforts to abate the public nuisance Defendants created and/or facilitated
in Plaintiff's communities, would not have been incurred but for Defendants’ deceptive
and unfair conduct as described in this Petition.

252. In abating the opioid nuisance to protect the health and safety of the citizens
of Vernon County, Plaintiff has suffered pecuniary damages, proximately caused by
Defendants’ misrepresentations and omissions of material fact.

(b) Jail Services

253. Increases in jail services costs may also be attributed to Plaintiff's efforts to
abate the ongoing public nuisance that the Defendants created and/or exacerbated in
Vernon County. For example, Vernon County’s total jail expenditures from Plaintiff's
General Fund has increased by almost 50% from 2015 to 2018.*? Additionally, from 2016
to 2018, 200 Vernon County citizens were on drug-related parole or probation.**

(c) Court Costs

 

52 Bureau of Health Care Analysis and Data Dissemination, Missouri Department
of Health and Senior Services, https://health.mo.gov/data/opioids/pdf/opioid-dashboard-
slide-16.pdf.

3 See, e.g., Annual Financial Report, Vernon County, Missouri, FYE December
31, 2015 and 2014, pg. 2 (Jun. 2016) (reporting actual jail expenses for 2014 and 2015),
https://vernoncountymo.org/wp-content/uploads/2014-15-Vernon-County-Biannual-
Financial-Audit.pdf; See also, e.g., Missouri State Auditor’s Office, 2019 County Budget
Forms, County: Vernon, pg. 17 (Feb. 2019) (reporting actual jail expenses for 2017 and
2018), https://vernoncountymo.org/wp-content/uploads/2019-Budget-1-2.pdf.

°4 2018 Status Report on Missouri’s Substance Use and Mental Health (Vernon
County), https://dmh.mo.gov/ada/countylinks/documents/indicator- Vernon. pdf.

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254. As the Defendants’ misconduct has continually frustrated Plaintiff's efforts
to protect the health and safety of its citizenry, Vernon County has allocated and continues
to allocate substantial sums to finance the operation of the courts system, prosecuting
attorney, and juvenile court referrals. From 2015 to 2017, there were 26 drug-related
offenses committed by juveniles in Vernon County. For that same period, there were 35
juvenile out-of-home placements due to parental drug use.** Additionally, from 2016 to
2018, there were 140 drug court participants in Vernon County.*’

255. As the utilization of these services by Vernon County citizens has increased
over the years of the opioid crisis, so too have Plaintiffs allocations to maintain these
important county-funded services and maintain the health and safety of Plaintiff's citizens.

3. Tax Revenue Forgone

256. Tax revenue forgone is a consequence of incapacitation. The principal
events associated with incapacitation include specialty treatment, hospitalization, and
death. As a result of such incapacitation, the citizens of Vernon County who became
addicted to Defendants’ opioids are unable to work or contribute to Vernon County’s
financial health through sales, property, and other taxes.

257. The lost tax revenue attributable to these patients is especially significant for
Plaintiff, as the vast majority of such patients would—but for their addiction—be
productive members of Plaintiff's community.

258. The opioid epidemic and public nuisance that resulted from Defendants’
deceptive strategy continues to frustrate Plaintiffs ability to recover from the crisis.

259. Leading up to and following the peak years of the opioid crisis, Plaintiff's

total tax revenue per capita has been largely affected. As set forth below, Defendants’

 

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willful, dishonest scheme made it much more difficult—and significantly more
expensive—for Plaintiff to ameliorate its tax-related damages associated with the
incapacitation of both its citizens and others who either died in Vernon County, or were
incapacitated in Vernon County.
(a) Hospitalization

260. Patients who are hospitalized in connection with opioid-related emergencies
are likewise unable to contribute to Vernon County’s financial health with their labor or
through the payment of taxes. In 2005, 10,847 Missouri residents visited hospital inpatient
or emergency departments for treatment related to opioid overuse. By 2014, this rate
increased by 137% with 25,711 visits and continues to rise.°8 From 2012-2016,
approximately 40,213 of Missouri residents visited the Emergency Room due to opioid
abuse.5? Moreover, according to a 2018 report published by DHHS, opioid-related hospital
stays were consistently longer than those attributable to both hallucinogens and stimulants,

60 Longer hospital stays are usually more

including cocaine and methamphetamine.
expensive and lead to larger losses of productivity for the hospitalized patient.

261. Due to Vernon County’s mainly rural geography, Vernon County citizens
have limited access to emergency medical care resources. Nevada Regional Medical

Center, located within Vernon County, is Plaintiffs only full-service hospital with an

 

58 Missouri Hospital Association, Alarming Trends in Hospital Utilization for
Opioid Overuse in Missouri (Oct. 2015), https://www.mhanet.com/mhaimages/
HIDIHealthStats/Opioids HealthStats_1015.pdf.

59 Bureau of Health Care Analysis and Data Dissemination, Missouri Department
of Health and Senior Services, https://health.mo.gov/data/opioids/pdf/opioid-dashboard-
slide-16.pdf.

60 Laura Radel, Substance Use, the Opioid Epidemic, and the Child Welfare
System: Key Findings from a Mixed Methods Study, U.S. Dept. of Health and Human
Services, Note 78 at p. 4 (Mar. 7, 2018), https://aspe.hhs.gov/system/files/pdf/ 25 8836/
Substance UseChildWelfareOverview.pdf.

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emergency department. Because Vernon County does not have the funding for specialty
healthcare-related services and programs related to opioid abuse for its citizens, Vernon
County citizens continue to suffer from preventable opioid overdoses at their own expense,
contributing to the loss of productivity for the hospitalized patient. From 2012-2016, there
were at least 104 recorded emergency room visits due to opioid overdoses in Vernon
County.®! In 2015 alone, Vernon County citizens reported 7 drug-related hospitalizations
and 49 drug-related emergency room visits.
(b) Death

262. According to government estimates, some 50,000 Americans died from an

opioid overdose in 2016—i.e., 137 people per day, and roughly one person every 12

minutes. ©

The emotional devastation caused by Defendants’ despicable actions is
impossible to quantify; however, as described above, the purely economic consequences
of the opioid epidemic can and have been successfully tracked in terms of lives, lost
productivity, healthcare, criminal justice and other costs. In fact, Missouri’s years of
potential life lost (YPPL) has been consistently higher than the U.S. average for the past

five years due to opioid abuse. Accordingly, in 2017, President Donald Trump’s Council

of Economic Advisers estimated that the economic consequences to the nation of the

 

61 Bureau of Health Care Analysis and Data Dissemination, Missouri Department
of Health and Senior Services, https://health.mo.gow/data/opioids/pdf/opioid-dashboard-
slide-16.pdf.

62 Missouri Behavioral Health Epidemiology Workgroup, Behavioral Health

Profile, Vernon County (2018), https://dmh.mo.gov/media/pdf/community-profile-2018-
vernon-county.

63 Money.com, Here’s What I Would Cost to Fix the Opioid Crisis, According to 5
Experts (Nov. 27, 2017), http://money.com/money/5032445/cost-fix-opioid-crisis/.

64 Bureau of Vital Statistics, Missouri Department of Health and Senior Services
and WONDER, Centers for Disease Control and Prevention,
https://health.mo.gov/data/opioids/pdf/opioid-dashboard-slide-29.pdf.

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opioid drug epidemic cost the United States $504 billion in 2015 alone, prompting the
President to declare the opioid crisis a nationwide public health emergency.
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263. Undoubtedly, Plaintiff has been affected by the opioid crisis. From 2013 to
2017, approximately 3,827 Missourians died from opioid-related intoxication causes.°°
During that same period, at least 8 Vernon County individuals died from opioid-related
intoxication causes, who would not have died but for the Defendants’ misconduct as
described in this Petition.

WAIVER OF CERTAIN CLAIMS FOR RELIEF

264. Vernon County expressly disclaims and waives any and all right to recovery,
whether financial, injunctive, or equitable, relating to or arising out of the distribution by
any person of any product, or the provision of any service, pursuant to McKesson
Corporation’s (“McKesson”) Pharmaceutical Prime Vendor Contract (“PPV Contract”)
with the United States Department of Veteran Affairs. Specifically, Vernon County
expressly disclaims and waives any and all right to recover against any of the Distributor
or Pharmacy Defendants under the terms and conditions of any PPV Contract or any similar
contract.

265. Vernon County further commits that it will not, in any forum, rely on or raise
the PPV Contract in connection with its allegations and/or prosecution in this matter.

266. Vernon County agrees that should Defendants present evidence sufficient for
the trier of fact to determine that Vernon County’s injuries were caused, in whole or in part,

by the distribution of products or provision of services through the PPV, Defendants are

 

65 Bureau of Vital Statistics, Missouri Department of Health and Senior Services,
https://health.mo.gov/data/opioids/pdf/opioid-dashboard-slide-4.pdf.

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entitled to a reduction of their liability proportionately by the extent to which the trier of
fact determines that any injury to Vernon County was caused by goods or products
distributed and/or services provided through the PPV.
Vv. CAUSES OF ACTION
COUNT I
Public Nuisance
(Against All Defendants)

267. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

268. Vernon County brings a public nuisance action under Missouri’s common
law, which provides that counties in Missouri have the power to suppress all nuisances,
which are, or may be, injurious to the health and welfare of the inhabitants as well as to
recover costs associated with the nuisance.

269. In Missouri, a public nuisance is an offense against the public order and
economy of that state and violates the public’s right to life, health, and the use of property,
while, at the same time, annoys, injures, endangers, renders insecure, interferes with, or
obstructs the rights or property of the whole community, or neighborhood, or of any
considerable number of persons. Public rights include the public health, the public safety,
the public peace, the public comfort, or the public convenience.

270. Each Defendant has caused actual harm to Plaintiff because of the products
manufactured, marketed, and distributed through deceptive practices and conduct resulting
in a public nuisance often referred to as the opioid epidemic.

271. Additionally, or in the alternative, Defendants engaged in an agreement and
conspiracy to illicitly market and distribute opioids in Missouri and/or not report illegal
diversions of opioids within Vernon County. Defendants are jointly and severally liable

for the public nuisance. For example, and as previously described in this Petition,

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Defendants funded organizations like the American Pain Association to mislead doctors
and the public about the safety and efficacy of prescription opioids.

272. The Defendants acted in concert with one another pursuant to an agreement
with a common intent and purpose that has resulted in a public nuisance and has directly
contributed to Plaintiff's damages.

273. Plaintiff further alleges that each Defendant is jointly and severally liable for
the public nuisance in Vernon County because their conduct has caused an offense against
the public order, threatens Plaintiff's economy, and violates the public’s right to life and
health.

274. Defendants, acting in concert and/or in conspiracy with one another,
intentionally, unlawfully, and/or recklessly manufactured, marketed, and distributed
prescription opioids which Defendants knew, or reasonably should have known, would be
improperly diverted, causing widespread distribution of prescription opioids in and/or to
Vernon County resulting in: addiction and abuse, an elevated level of crime, death and
injuries to the citizens of Vernon County at the expense of Plaintiff, a higher level of fear,
discomfort and inconvenience within Vernon County, and direct and indirect costs to
Plaintiff.

275. Defendants, acting in concert and/or in conspiracy with one another,
intentionally, unlawfully, and/or recklessly deceived doctors and patients about the risks
and benefits of prescription opioids for the treatment of chronic pain, sabotaging
practitioners’ and prescribers’ ability to protect their patients from opioid-related injuries
and conditions.

276. Defendants have unlawfully and/or intentionally caused and permitted highly
addictive drugs under their control to be diverted in a way that injures Vernon County’s
citizenry at the expense of Plaintiff.

277. Defendants have unlawfully and/or intentionally distributed opioids or

caused opioids to be distributed without maintaining effective controls against diversion,

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which is illegal. Defendants’ failure to effectively monitor for suspicious orders, report
suspicious orders, and/or stop shipment of suspicious orders, which has created an opioid
epidemic throughout Missouri and, specifically, within Vernon County.

278. The conduct of each Defendant is of a continuing nature and has produced a
permanent or long-lasting effect that, as each Defendant knows or has reason to know, has
and continues to have a substantial effect on the entire community.

279. Asa direct and proximate result of Defendants’ conduct, Plaintiff's citizens
have suffered from physical and mental injuries, including death, at Plaintiffs expense.
The full extent of the destruction caused by the misrepresentations of these drugs has not
yet been quantified because the loss of human life, the resources devoted to administering
and trying to save those lives, and the costs incurred by Plaintiff are far reaching.

280. This injury to the public includes, but is not limited to (a) widespread
dissemination of false and misleading information regarding the risks, benefits, superiority
and appropriateness of opioids for the long-term treatment of chronic pain; (b) distortion
of the medical standard of care for treating chronic pain, resulting in a pervasive
overprescribing of opioids and the failure to provide more appropriate pain treatment; (c)
high rates of opioid abuse, injury, overdose, and death, and their impact on Vernon County
families and communities; (d) increased healthcare costs for individuals, families,
employers, and Vernon County; (e) lost employee productivity resulting from the
cumulative effects of long-term opioid use, addiction, and death; (f) the creation and
maintenance of secondary, illicit market for opioids; and (g) greater demand for emergency
services and law enforcement paid for by Vernon County.

281. Defendants knew or should have known that their promotion of opioid use
would create a public nuisance.

282. Defendants’ actions were, at least, a substantial factor in opioids becoming
widely available and widely used. Absent Defendants’ actions and omissions described in

this Petition, opioid use would not have become so widespread, and the enormous public

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health hazard of opioid overuse and addiction that now exists in Vernon County would
have been averted.

283. The health and safety of Vernon County’s citizens, including those who use,
have used, or will use opioids, as well as those affected by users of opioids, is a matter of
great public interest and of legitimate concern to Vernon County and the entire state.

284, Defendant’ conduct has injuriously affected, and continues to affect, Vernon
County’s property, patrons, employees, and a considerable number of other people within
Vernon County, and across the state.

285. Asa direct and proximate result of Defendants’ conduct, and each of them,
Plaintiff has sustained and will continue to sustain significant costs to address and attempt
to abate this public nuisance in an amount to be determined according to proof at trial. As
alleged herein, Defendants’ misconduct was and remains willful, wanton, reckless, and
outrageous given Defendants’ evil motive and/or reckless indifference to both human life
and the rights and safety of Plaintiff and its citizens, resulting in the extensive damages
incurred by Plaintiff and justifying an award of punitive damages in a sum to be determined
at trial that will serve to punish Defendants and to deter Defendants and others from like
conduct.

286. Additionally, Plaintiff requests an order providing for abatement of the
public nuisance and enjoining Defendants from such future violations.

COUNT I
Negligence
(Against All Defendants)

287. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

288. Missouri recognizes a legal duty where the foreseeability of harm is such that

harm may result if due care is not exercised. In any action for negligence, the plaintiff

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must establish the existence of a duty on the part of the defendant to protect the plaintiff
from injury, failure of defendant to perform the duty, and that the plaintiff's injury was
proximately caused by that failure.

289. At all times mentioned herein, Defendants were under a duty to exercise
reasonable care in the manufacturing, marketing, and distribution of their opioid products
to ensure that the use of their products did not result in avoidable injuries.

290. Each Defendant owed a duty of care to Plaintiff, including but not limited to,
taking reasonable steps to prevent the misuse, abuse, and over-prescription of opioids.

291. In violation of this duty, Defendants, and each of them, failed to take
reasonable steps to prevent the misuse, abuse, and over-prescription of opioids by
misrepresenting the risks and benefits associated with opioids and by distributing and
prescribing dangerous quantities of opioids.

292. Each of the Manufacturer Defendants’ misrepresentations include falsely
claiming that the risk of opioid addiction was negligible, falsely instructing doctors and
patients that describing more opioids was appropriate when patients presented symptoms
of addiction, falsely claiming that risk-mitigation strategies were so efficacious as to
virtually negate concerns about addiction, falsely claiming that doctors and patients could
increase opioid doses without significant added risk, and falsely claiming that long-term
opioid use could actually restore function and improve a patient’s quality of life without
posing significant additional risks. Each of these misrepresentations made by Defendants
violated a duty of care to Vernon County.

293. Each of the Defendants also owed a duty to report suspicious sales; to not fill
suspicious orders; to abide by any government agreements entered into regarding the same
and to comply with state regulations. Each of these Defendants breached its duty by failing
to design and operate a system that would disclose the existence of suspicious orders of
controlled substances or by failing to report such suspicious orders to the appropriate

regulators.

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294. These Defendants knew of the serious problem posed by prescription opioid
diversion and were under a legal obligation to take reasonable steps to prevent diversion.

295. These Defendants negligently distributed suspiciously large quantities of
potent opioids and failed to report such distributions. As such, the Distributor and
Pharmacy Defendants violated their duty of care by moving these highly addictive products
into Vernon County in such quantities, facilitating the misuse and abuse of opioids.

296. Plaintiff is not asserting a cause of action under the federal Controlled
Substances Act or any other federal controlled substance laws, including—inter alia—
federal statutes and regulations regarding opioid promotion, opioid manufacturing, opioid
distribution, and/or opioid prescribing or dispensing practices.

297. Asa direct and proximate result of Defendants’ conduct, Plaintiffs citizens
have suffered from physical and mental injuries, including death, at Plaintiff's expense.
The full extent of the destruction caused by the misrepresentations of these drugs has not
yet been quantified because the loss of human life, the resources devoted to administering
and trying to save those lives, and the costs incurred by Plaintiff are far reaching.

298. Asa direct and proximate result of Defendants’ conduct, and each of them,
Plaintiff has sustained and will continue to sustain significant costs in an amount to be
determined according to proof at trial.

299. Because Defendants’ misconduct as described in this Petition was and
remains willful, wanton, reckless, and outrageous given Defendants’ evil motive and/or
reckless indifference to the rights and safety of Plaintiff and its citizenry, Plaintiffis entitled
to an award of punitive damages in a sum to be determined at trial that will serve to punish

Defendants and to deter Defendants and others from like conduct.

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COUNT It
Negligence Per Se
(Against All Defendants)

300. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

301. Atall times mentioned herein, Defendants were under a duty to exercise due
care in the manufacturing, marketing, and distribution of their opioids.

302. Missouri law mandates that the Defendants implement effective controls and
procedures in their supply chains to guard against theft, diversion, and the abuse of
prescription opioids.

303. Missouri Code of State Regulations, 20 CSR 2220-5, et seqg., governs the
State Board of Pharmacy and statutory requirements for dispensing medication.

304. Missouri Code of State Regulations, 20 CSR 2220-5.030(3)(1) requires
wholesale drug distributors to establish and maintain inventories and records of all
transactions regarding the receipt and distribution or other disposition of prescription
drugs.

305. Missouri Code of State Regulations, 20 CSR 2220-5.030(3)(M) requires
wholesale drug distributors to establish written policies and procedures for identifying,
recording, and reporting losses or thefts and for correcting errors and inaccuracies in
inventory.

306. Missouri Code of State Regulations, 20 CSR 2220-5.030(3)(M)(5) requires
wholesale drug distributors to report suspicions of diversion or theft.

307. Missouri Code of State Regulations, 20 CSR 2220-5.030(3)(M)(S5),(7)
requires that any suspected criminal activity or diversion be reported.

308. Missouri Code of State Regulations, 20 CSR 2220-5.060 requires wholesale

drug and pharmacy distributors to report the distribution of opioid controlled substances.

1181379.1/81715.05012 108

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309. In violation of the above regulations, Defendants failed to adequately design
and operate a system to detect, halt, and/or report suspicious orders of prescription opioids.

310. Defendants negligently disseminated massive quantities of prescription
opioids into Vernon County. Defendants’ conduct, actions, and failure to act moved once-
legal prescription drugs to unlawful channels of distribution or use.

311. Asa direct and proximate result of Defendants’ conduct, actions, and failure
to act, Vernon County has been inundated with an illegal opioid market, which in turn,
created substantial addiction problems leading to numerous deaths and other injuries, the
costs of which Plaintiff has born, resulting in significant economic damages.

312. Defendants negligently distributed enormous quantities of opioids into the
illegal drug market, especially acting as a supplier to illegal drug dealers and permitting
opioids to be trafficked and sold in Vernon County.

313. Defendants’ actions were a substantial factor in making opioids widely
available and widely used by the citizens of Vernon County. Defendants’ actions were a
substantial factor in doctors and patients inaccurately assessing the risks and benefits of
opioids for chronic pain. Without Defendants’ actions, opioid use would not have been so
widespread and the significant public health hazard of opioid abuse and addiction that
exists could have been averted.

314. Defendants knowingly, intentionally, recklessly, and/or negligently
disseminated prescription opioids without effective controls and procedures to guard
against theft, diversion, and/or abuse of prescription opioids.

315. Defendants’ nuisance-causing activities include, but are not limited to,
failing to implement effective controls and procedures in their supply chains to guard
against theft, diversion, and misuse of prescription opioids, as well as failing to adequately
design and operate a system to detect, halt, and/or report suspicious orders of prescription
opioids.

316. Asa direct and proximate result of Defendants’ conduct, Plaintiffs citizens

1181379.1/81715,05012 109

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have suffered from physical and mental injuries, including death, at Plaintiff's expense.
The full extent of the destruction caused by the misrepresentations of these drugs has not
yet been quantified because the loss of human life, the resources devoted to administering
and trying to save those lives, and the costs incurred by Plaintiff are far reaching and
ongoing.

317. Asa direct and proximate result of Defendants’ conduct, and each of them,
Plaintiff has sustained and will continue to sustain significant costs in an amount to be
determined according to proof at trial.

318. Because Defendants’ misconduct as described in this Petition was and
remains willful, wanton, reckless and outrageous given Defendants’ evil motive and/or
reckless indifference to the rights and safety of Plaintiff and its citizenry, Plaintiffis entitled
to an award of punitive damages in a sum to be determined at trial that will serve to punish
Defendants and to deter Defendants and others from like conduct. Indeed, Defendants’
misconduct is particularly reprehensible since—in creating, facilitating and/or failing to
abate the opioid epidemic in Plaintiff's community—Defendants intentionally performed
acts in violation of their legal duties to Plaintiff and/or intentionally failed to perform acts
which Defendants had legal duties to perform. Moreover, Defendants engaged and
continue to engage in this misconduct despite knowing or having reason to know of facts
which would lead a reasonable person to realize that such misconduct not only created and
continues to create an unreasonable risk of harm, but that Defendants engaged in this
misconduct despite their full realization of the high degree of probability of resulting,
substantial harm.

COUNT IV
Unjust Enrichment
(Against All Defendants)
319. Vernon County re-alleges and incorporates by reference each of the

allegations contained in the preceding paragraphs of this Petition as though fully alleged in

1181379.1/81715.05012 110

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this Cause of Action.

320. A claim for unjust enrichment in Missouri requires the defendant to be
enriched by the receipt of a benefit; that the enrichment be at the expense of the plaintiff;
and that it would be unjust to allow the defendant to retain the benefit.

321. Each Defendant was required to take reasonable steps to prevent the misuse,
abuse, and over-prescription of opioids.

322. Rather than prevent or mitigate the wide proliferation of opioids into Vernon
County, each Defendant, instead, chose to place its monetary interests first and each
Defendant profited from prescription opioids sold in Vernon County.

323. Each Defendant also failed to maintain effective controls against the
unintended and illegal use of the prescription opioids it or he manufactured or distributed,
again choosing, instead, to place its or his monetary interests first.

324. Each Defendant, therefore, received a benefit from the sale, distribution, or
prescription of prescription opioids to and in Vernon County, and these Defendants have
been unjustly enriched at the expense of Vernon County.

325. Asaresult, Vernon County is entitled to damages on its unjust enrichment
claim in an amount to be determined according to proof at trial.

COUNT V
Negligent Misrepresentation
(Against the Manufacturer Defendants)

326. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

327. At all relevant times mentioned herein, Defendants made many
misrepresentations to doctors, patients, and the public in their advertising which, as set
forth above, was misbranded, misleading, and contrary to the prescription label.

328. The Manufacturer Defendants are liable for negligent misrepresentation

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because they supplied information in the course of their business to patients, including
those in Vernon County. Because the representatives referred to in this Petition were
employed or were supplied by the Manufacturer Defendants, they had a duty to exercise
reasonable and ordinary care and skill, in accordance with applicable standards of conduct,
to adequately warn the medical profession about the risks of addiction from the use of
opioid products and to not over-promote and over-market opioid products so as to nullify,
cancel out, and render meaningless any written warnings about addiction, however
inadequate, regarding the risk of addiction from the use of opioid products.

329. The Manufacturer Defendants intentionally breached their duty to exercise
reasonable and ordinary care by negligently misrepresenting the true risks of addiction
from the use of opioid products to the medical profession. Moreover, the Manufacturer
Defendants so over-promoted the products to nullify, cancel out and render meaningless
any warnings in the labels about any addiction risk due to the Manufacturer Defendants’
marketing, sales and promotional efforts that were designed to stimulate the use of opioid
products for patients who either should not have been using those drugs, or should have
used them only as a last resort before other means were used or other less addictive and
dangerous drugs were prescribed.

330. Asa direct and proximate cause of Defendants’ unreasonable and negligent
conduct, the citizens of Vernon County have suffered and will continue to suffer harm, and
Plaintiff is entitled to damages in an amount to be determined according to proof at trial.

331. Because Defendants’ misconduct as described in this Petition was and
remains willful, wanton, reckless and outrageous given Defendants’ evil motive and/or
reckless indifference to the rights and safety of Plaintiff and its citizenry, Plaintiffis entitled
to an award of punitive damages in a sum to be determined at trial that will serve to punish
Defendants and to deter Defendants and others from like conduct. Indeed, Defendants’
misconduct is particularly reprehensible since—in creating, facilitating and/or failing to

abate the opioid epidemic in Plaintiff's community—Defendants intentionally performed

1181379.1/81715.05012 112

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acts in violation of their legal duties to Plaintiff and/or intentionally failed to perform acts
which Defendants had legal duties to perform. Moreover, Defendants engaged and
continue to engage in this misconduct despite knowing or having reason to know of facts
which would lead a reasonable person to realize that such misconduct not only created and
continues to create an unreasonable risk of harm, but that Defendants engaged in this
misconduct despite their full realization of the high degree of probability of resulting,
substantial harm.
COUNT VI
Fraud in the Omission
(Against All Defendants)

332. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

333. Defendants, having undertaken the manufacturing, marketing, distributing,
monitoring, reporting, and promotion of their various opioid products as previously
described in this Petition, owed a duty to provide accurate and complete information
regarding these products.

334. Through the use of Front Groups, KOLs, and advertising to treating and
prescribing physicians, Defendants omitted material facts about the lack of evidence
regarding the safety and efficacy for opioid use in treating chronic pain.

335. Defendants, acting in concert and/or in a conspiracy with each other,
deceptively misrepresented the true nature of their opioid products with a mutual intent and
purpose to deceive patients and prescribing physicians about the safety and efficacy of
opioids. These deceptive omissions caused or contributed to cause damages incurred by
Plaintiff.

336. Defendants marketed, advertised, and distributed, through the use of KOLs

and organizations which they funded, the following omissions that were materially relied

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upon by patients and prescribing physicians as previously described in this Petition.

337. Plaintiff has had to expend funds for criminal investigation, judicial, public
safety, and health-related costs as a direct result of Defendants’ fraudulent conduct.

338. Defendants’ conduct in illegally distributing and/or selling prescription
opioids or conduct allowing opioids to be distributed and/or sold illegally is ongoing and
continues to harm Plaintiff and continues to create an ongoing public nuisance.

339. Defendants’ conduct in marketing, distributing, selling, and filling
prescription opioids which Defendants know, or reasonably should know, will be diverted
for non-legitimate use and thereby cause significant injury and death to the citizens of
Vernon County at Plaintiffs expense. Additionally, the prevalence and widespread
availability of diverted opioids creates a climate of fear throughout Vernon County, which
Plaintiff must combat through enhanced law enforcement measures at significant expense
to Plaintiff. Defendants’ conduct, therefore, has made it increasingly easy for the diversion
of prescription opioids, which has harmed and continues to harm the public health and
safety of Vernon County’s citizens while also causing Vernon County and its citizens to
incur significant economic harm.

340. Asa direct and proximate result of Defendants’ conduct, Plaintiffs citizens
have suffered from physical and mental injuries, including death, at Plaintiff's expense.
The full extent of the destruction caused by Defendants’ wrongful conduct has not yet been
quantified because the loss of human life, the resources devoted to administering and trying
to save those lives, and the costs incurred by Plaintiff are far reaching and ongoing.

341. Asa direct and proximate result of Defendants’ conduct, and each of them,
Plaintiff has sustained and will continue to sustain significant costs in an amount to be
determined according to proof at trial.

342. Because Defendants’ misconduct as described in this Petition was and
remains willful, wanton, reckless and outrageous given Defendants’ evil motive and/or

reckless indifference to the rights and safety of Plaintiff and its citizenry, Plaintiff is entitled

1181379.1/81715.05012 114

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to an award of punitive damages in a sum to be determined at trial that will serve to punish
Defendants and to deter Defendants and others from like conduct.
COUNT Vil
Fraud
(Against All Defendants)

343. Vernon County re-alleges and incorporates by reference each of the
allegations contained in the preceding paragraphs of this Petition as though fully alleged in
this Cause of Action.

344. At all times relevant to this action, Defendants acted in concert with a
common intent and purpose to deceive patients and physicians, including those within
Vernon County. Defendants’ actions and deceptive conduct caused, contributed to, and
continues to cause or contribute to Plaintiff's damages.

345. Defendants marketed, advertised, and distributed, through the use of KOLs
and organizations which they funded, deceptive and false statements and
misrepresentations regarding the long-term use and benefits of prescription opioids which
were materially relied upon by patients and physicians, as previously described in this
Petition.

346. Defendants, as the manufacturers, marketers, distributers, and promoters of
opioids, owed a duty to provide accurate and complete information regarding their opioid
products.

347. Defendants’ promotional, marketing, and distribution plan, developed in
concert with one another, had the goal of increasing the volume of opioid products present
in Vernon County. As previously described herein, Defendants cultivated an image that
the use of opioid products was proper for the treatment of chronic pain and that the opioid
products were safe, non-addictive, and would not interfere with everyday life.

348. Defendants acted in concert to fund, direct, and guide KOLs and Front

Groups to tout the false benefits of opioids and downplay its harsh side effects, specifically,

1181379.1/81715.05012 115

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addiction and death, which patients and physicians in Vernon County reasonably relied on
to their detriment.

349. Asa direct and proximate result of Defendants’ conduct, Plaintiffs citizens
have suffered from physical and mental injuries, including death, at Plaintiff’s expense.
The full extent of the destruction caused by Defendants’ wrongful conduct has not yet been
quantified because the loss of human life, the resources devoted to administering and trying
to save those lives, and the costs incurred by Plaintiff are far reaching and ongoing.

350. Asa direct and proximate result of Defendants’ conduct, and each of them,
Plaintiff has sustained and will continue to sustain significant costs in an amount to be
determined according to proof at trial.

351. Because Defendants’ misconduct as described in this Petition was and
remains willful, wanton, reckless, and outrageous given Defendants’ evil motive and/or
reckless indifference to the rights and safety of Plaintiff and its citizenry, Plaintiff is entitled
to an award of punitive damages.

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VI. PRAYER FOR RELIEF

Vernon County prays that the Court issue:

1, An Order declaring that Defendants have created a public nuisance;

2. An Order enjoining Defendants from performing any further acts which
constitute a public nuisance;

3. An Order requiring Defendants to abate the public nuisance that they created;

4. An Order that Defendants are negligent under Missouri law;

5. An Order that Defendants have been unjustly enriched at Vernon County’s
expense under Missouri law;

6. An Order that Vernon County is entitled to recover all measure of damages

permissible under the statutes identified herein and under Missouri common law, in an

1181379.1/81715.05012 116

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Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 118 of 119 PagelD #: 144

amount to be proven at trial;

ti An Order that judgment be entered against Defendants, jointly and severally,
in favor of Vernon County;

8. An Order that Vernon County is entitled to attorney’s fees and costs pursuant
to any applicable provision of law;

¥. Compensatory damages in the sum to be proven at trial;

10. Punitive damages against Defendants in sums to be proven at trial that will
serve to punish Defendants and deter Defendants and others from like conduct; and

11. An Order awarding any other and further relief deemed just and proper,
including pre-judgment and post-judgment interest on the above amounts.
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VU. JURY TRIAL DEMAND

352. Vernon County demands a trial by jury on all claims and of all issues so
triable.

DATED: November 7, 2019
Respectfully submitted,

EDGAR LAW FIRM LLC

/s/ John F. Edgar
John F, Edgar # 47128
Michael R. Owens #67002
4340 Grand Blvd., Suite 440
Kansas City, Missouri 64108
Telephone: (816) 531-0033
Facsimile: (816) 531-3322
jfe@edgarlawfirm.com
mro@edgarlawfirm.com

1181379.1/81715.05012 117

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Case: 4:19-cv-03302-SEP Doc. #: 1-1 Filed: 12/19/19 Page: 119 of 119 PagelD #: 145

1181379.1/81715.05012

Terry L. Pabst # 37187
EDGAR LAW FIRM LLC
950 Francis Place, Ste. 107
St. Louis, Missouri 63105
Telephone: (314) 812-8780
Facsimile: (314) 725-0912
tpabst@webpabstlaw.com

Jeff Reeves (pro hac vice)
Chery! Priest Ainsworth (pro hac vice)
Kevin N. Royer (pro hac vice)
THEODORA ORINGHER PC

535 Anton Blvd., Ninth Floor

Costa Mesa, California 92626
Telephone: (714) 549-6200

Facsimile: (714) 549-6201
jreeves(@tocounsel.com

cainsworth@tocounsel.com

kroyer@tocounsel.com

Anne Andrews (pro hac vice)
ANDREWS & THORNTON

4701 Von Karman Ave., Suite 300
Newport Beach, California 92660
Telephone: (949) 748-1000
Facsimile: (949) 315-3540
aa@andrewsthornton.com

Attorneys for Plaintiff

118

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